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6
                                  UNITED STATES DISTRICT COURT
7                                WESTERN DISTRICT OF WASHINGTON
                                           AT SEATTLE
8

9      FEDERAL TRADE COMMISSION,                                  Civil Action No. 2:23-cv-0932-JHC

10               Plaintiff,                                       AMENDED COMPLAINT FOR
                                                                  PERMANENT INJUNCTION,
11               v.                                               CIVIL PENALTIES, MONETARY
                                                                  RELIEF, AND OTHER
12     AMAZON.COM, INC., a corporation;                           EQUITABLE RELIEF

13     NEIL LINDSAY, individually and as an officer of
       AMAZON.COM, INC.;
14
       RUSSELL GRANDINETTI, individually and as
15     an officer of AMAZON.COM, INC.; and

16     JAMIL GHANI, individually and as an officer of
       AMAZON.COM, INC.,
17
                 Defendants.
18

19          Plaintiff, the Federal Trade Commission (“FTC” or “the Commission”), alleges:

20          1.        Plaintiff brings this action under Sections 5(a), 5(m)(1)(A), 13(b), 16(a), and 19 of

21   the Federal Trade Commission Act (“FTC Act”), 15 U.S.C. §§ 45(m)(1)(A), 53(b), 57b, and the

22   Restore Online Shoppers’ Confidence Act, (“ROSCA”), 15 U.S.C. § 8404, which authorize the

23
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1    FTC to seek, and the Court to order, permanent injunctive relief, restitution, civil penalties, and

2    other equitable relief for Defendants’ acts or practices in violation of Section 5(a) of the FTC

3    Act, 15 U.S.C. § 45(a), and Section 4 of ROSCA, 15 U.S.C. § 8403.

4                                         SUMMARY OF CASE

5           2.      For years, Defendant Amazon.com, Inc. (“Amazon”) and its leadership have

6    knowingly duped millions of consumers into unknowingly enrolling in its Amazon Prime service

7    (“Nonconsensual Enrollees” or “Nonconsensual Enrollment”). Specifically, Amazon used

8    manipulative, coercive, or deceptive user-interface designs known as “dark patterns” to trick

9    consumers into enrolling in automatically-renewing Prime subscriptions.

10          3.      The Nonconsensual Enrollment problem was well known within Amazon. The

11   company’s internal documents are littered with references to “accidental” signups. In early

12   2019, for example, an Amazon survey showed                  of consumers stated their reason for

13   cancelling Prime was that they never intended to enroll in the first place. And in September

14   2020, Amazon estimated that                          Prime subscribers were “unaware” they had

15   subscribed to Prime.

16          4.      In a draft memorandum from late 2020, Amazon designers and researchers

17   documented the company’s use of techniques “designed to mislead or trick users to make them

18   do something they don’t want to do, like signing up for a recurring bill.”

19          5.      Some Amazon employees pushed the company executives responsible for

20   Prime—including Defendants Neil Lindsay (“Lindsay”), Russell Grandinetti (“Grandinetti”) and

21   Jamil Ghani (“Ghani”)—to address Nonconsensual Enrollment and make changes so that

22   Amazon would not be tricking its customers. One employee, for example, wrote to Ghani: “The

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1    way I see it, we are not winning for customers by ignoring the simple and obvious lack of

2    information but applauding a business gain. We congratulate when someone changes a headline

3    color, or the style of a table, but don’t notice we are not even telling customers what they are

4    signing up for . . . .”

5            6.       Despite their knowledge of the problem and pleas from some employees to fix it,

6    Amazon and its leadership—including Lindsay, Grandinetti, and Ghani—slowed, avoided, and

7    even undid user experience changes that they knew would reduce Nonconsensual Enrollment

8    because those changes would also negatively affect Amazon’s bottom line. As one internal

9    memorandum stated, Amazon decided “clarifying” the enrollment process was not the “right

10   approach” because it would cause a “shock” to business performance.

11           7.       For years, Amazon also knowingly complicated the cancellation process for

12   Prime subscribers who sought to end their membership. Under significant pressure from the

13   Commission—and aware that its practices are legally indefensible—Amazon substantially

14   revamped its Prime cancellation process for at least some subscribers shortly before the filing of

15   the Complaint for Permanent Injunction, Civil Penalties, Monetary Relief, and Other Equitable

16   Relief (“Complaint”). Dkt. #1. However, prior to that time, the primary purpose of the Prime

17   cancellation process was not to enable subscribers to cancel, but rather to thwart them. Fittingly,

18   Amazon named that process “Iliad,” which refers to Homer’s epic about the long, arduous Trojan

19   War. Amazon designed the Iliad cancellation process (“Iliad Flow”) to be labyrinthine, and

20   Amazon and its leadership—including Lindsay, Grandinetti, and Ghani—slowed or rejected user

21   experience changes that would have made Iliad simpler for consumers because those changes

22   adversely affected Amazon’s bottom line.

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1           8.      As with Nonconsensual Enrollment, the Iliad Flow’s complexity resulted from

2    Amazon’s use of dark patterns—manipulative design elements that trick users into making

3    decisions they would not otherwise have made.

4                                     JURISDICTION AND VENUE

5           9.      This Court has subject matter jurisdiction pursuant to 28 U.S.C. §§ 1331, 1337(a),

6    and 1345.

7           10.     Venue is proper in this District under 28 U.S.C. § 1391(b)(2), (b)(3), (c)(1),

8    (c)(2), (c)(3), and (d), and 15 U.S.C. § 53(b).

9                                               PLAINTIFF

10          11.     The FTC is an independent agency of the United States Government created by

11   the FTC Act, which authorizes the FTC to commence this district court civil action by its own

12   attorneys. 15 U.S.C. §§ 41-58. The FTC enforces Section 5(a) of the FTC Act,

13   15 U.S.C. § 45(a), which prohibits unfair or deceptive acts or practices in or affecting commerce.

14   The FTC also enforces ROSCA, 15 U.S.C. §§ 8401-8405, which prohibits the sale of goods or

15   services on the Internet through negative option marketing without meeting certain requirements

16   for disclosure, consent, and cancellation to protect consumers. A negative option is an offer in

17   which the seller treats a consumer’s silence—i.e., their failure to reject an offer or cancel an

18   agreement—as consent to be charged for goods and services. 16 C.F.R. § 310.2(w).

19                                             DEFENDANTS

20          12.     Defendant Amazon transacts and has transacted business in this District and

21   throughout the United States. It is one of the world’s largest online retailers, and is

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1    headquartered in Seattle, Washington, with its principal place of business at 410 Terry Avenue

2    North, Seattle, Washington 98109.

3           13.     At all times relevant to this Amended Complaint, acting alone or in concert with

4    others, Amazon advertised, marketed, distributed, or sold a paid subscription service, Prime, that

5    gives subscribers throughout the United States access to additional services otherwise

6    unavailable or available only at an additional charge to other consumers. Among other things,

7    these premium services include expedited “free” delivery of merchandise from Amazon’s vast

8    online marketplace, streaming content, and grocery delivery.

9           14.     Defendant Lindsay resides in Laguna Beach, California. Lindsay has worked as a

10   senior Amazon executive since 2010. From February 2018 through November 2021, Lindsay

11   was the Amazon executive with the most responsibility for the Prime subscription program,

12   which he managed as an Amazon Vice-President and Senior Vice-President. During this period,

13   Lindsay joined Amazon’s S-Team, which runs the entire company and reports directly to the

14   CEO.

15          15.     From February 2018 through November 2021, acting alone or in concert with

16   others, Lindsay formulated, directed, controlled, had the authority to control, or participated in

17   the acts and practices of Amazon, including the acts and practices set forth in this Amended

18   Complaint. Lindsay participated in these unlawful acts and practices by directing that they

19   continue despite knowing the consumer injury they caused.

20          16.     Lindsay’s participation in the unlawful acts and practices set forth in this

21   Amended Complaint includes, among other things: (a) in mid-2018, Lindsay declined to

22   implement changes that would have avoided Nonconsensual Enrollment; (b) Lindsay

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1    participated in a June 17, 2019 meeting with Defendant Grandinetti at which these executives

2    decided not to make changes that would reduce Nonconsensual Enrollment; (c) in December

3    2020, Lindsay participated in a decision to reverse changes that would help prevent

4    Nonconsensual Enrollment; and (d) Lindsay oversaw Amazon employees who studied the Iliad

5    Flow, including the complications it presented to subscribers attempting to cancel, and who

6    developed simpler alternatives, which Lindsay did not implement.

7              17.    Lindsay knew these acts and practices would cause consumer injury because,

8    among other things: (a) Lindsay directed a “deep dive” into the Nonconsensual Enrollment

9    problem in 2018 and received numerous memoranda addressing Nonconsensual Enrollment

10   including, among others, a 2019 memorandum entitled “Customer Frustrations Elimination

11   Program: Prime Frustrations” (“Prime Frustrations Memo”) that identified the fact that

12   “customers sign up without knowing they did” as a “customer problem”; and (b) Lindsay

13   received internal memoranda, emails, and oral communications describing the Iliad Flow and the

14   complications it presented to Prime subscribers attempting to cancel, and he knows, and has

15   known at all times relevant to this Amended Complaint, that the Iliad Flow is not simple.

16             18.   Defendant Lindsay has transacted business in this District and throughout the

17   United States, and continues to transact business in this District and throughout the United

18   States.

19             19.   Defendant Grandinetti resided in the United States during the majority of the

20   period during which he participated in the acts and practices set forth in this Amended Complaint

21   (Grandinetti moved to the United Kingdom in 2021 to further his employment with Amazon).

22   Grandinetti oversees Amazon’s Prime subscription program as an Amazon Senior Vice-President

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1    with a portfolio that includes Prime. During this period, Grandinetti was a member of Amazon’s

2    S-Team, which runs the entire company and reports directly to the CEO.

3           20.     From at least January 1, 2018 through the present, acting alone or in concert with

4    others, Grandinetti formulated, directed, controlled, had the authority to control, or participated

5    in the acts and practices of Amazon within the United States, including the acts and practices set

6    forth in this Amended Complaint. As an Amazon executive with authority over the Prime

7    enrollment and cancellation process within the United States, Defendant Grandinetti participated

8    in these unlawful acts and practices by directing that they continue despite knowing the

9    consumer injury they caused.

10          21.     Grandinetti’s participation in the unlawful acts and practices set forth in this

11   Amended Complaint and occurring within the United States includes, among other things: (a)

12   Grandinetti directed the preparation of, and reviewed, the Prime Frustrations Memo summarizing

13   the Nonconsensual Enrollment problem; (b) Grandinetti ran a June 17, 2019 meeting with

14   Defendant Lindsay and others in which Grandinetti discussed the Prime Frustrations Memo and

15   directed subordinates not to address Nonconsensual Enrollment unless it could be resolved while

16   maintaining Prime subscription numbers; and (c) Grandinetti oversaw, and continues to oversee,

17   Amazon employees who studied the Iliad Flow including the complications it presented to

18   subscribers attempting to cancel, and who developed simpler alternatives, which Grandinetti did

19   not implement.

20          22.     Grandinetti knew these acts and practices would cause consumer injury because,

21   among other things: (a) he reviewed the 2019 memorandum, which identified the fact that

22   “customers sign up without knowing they did” as a major “customer problem”; and (b) he

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1    knows, and has known at all times relevant to this Amended Complaint, that the Iliad Flow is not

2    simple.

3              23.   Defendant Grandinetti has transacted business in this District and throughout the

4    United States, and continues to transact business in this District and throughout the United

5    States.

6              24.   Defendant Ghani resides in Bellevue, Washington. Since 2019, Ghani has

7    overseen Prime’s subscription program as a Vice-President. From 2019 through the present,

8    acting alone or in concert with others, Ghani formulated, directed, controlled, had the authority

9    to control, or participated in the acts and practices of Amazon, including the acts and practices

10   set forth in this Amended Complaint. As an Amazon executive with authority over the Prime

11   enrollment and cancellation process, Ghani participated in these unlawful acts and practices by

12   directing that they continue despite knowing the consumer injury they caused.

13             25.   Ghani’s participation in the unlawful acts and practices set forth in this Amended

14   Complaint includes, among other things: (a) Ghani participated in a December 2020 decision to

15   reverse changes that would help prevent Nonconsensual Enrollment; and (b) Ghani oversaw, and

16   continues to oversee, Amazon employees who studied the Iliad Flow and the complications it

17   presented subscribers attempting to cancel, and who developed simpler alternatives, which Ghani

18   did not implement.

19             26.   Ghani knew these acts and practices would cause consumer injury because,

20   among other things: (a) Ghani received dozens of internal memoranda, emails, and oral

21   communications describing the Nonconsensual Enrollment problem including, for example, a

22   2020 memorandum entitled “US Prime Performance Update”; and (b) Ghani received internal

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1    memoranda, emails, and oral communications describing the Iliad Flow and the complications it

2    presented to subscribers attempting to cancel, and he knows, and has known at all times relevant

3    to this Amended Complaint, that the Iliad Flow is not simple.

4              27.   Defendant Ghani has transacted business in this District and throughout the

5    United States, and continues to transact business in this District and throughout the United

6    States.

7                                             COMMERCE

8              28.   At all times relevant to this Amended Complaint, Defendants have maintained a

9    substantial course of trade in or affecting commerce, as “commerce” is defined in Section 4 of

10   the FTC Act, 15 U.S.C. § 44.

11                               DEFENDANTS’ BUSINESS ACTIVITIES

12             29.   Consumers pay $139 per year or $14.99 monthly to subscribe to Prime. Prime

13   subscription fees account for $25 billion of Amazon’s annual revenue.

14             30.   Approximately 70% of Amazon’s revenue comes from American consumers.

15             31.   Subscribers are critical to Amazon’s overall ecommerce business because Prime

16   subscribers spend more than               as much shopping on Amazon as compared to non-

17   Prime shoppers.

18             32.   Consequently, one of Amazon’s primary business goals—and the primary

19   business goal of Prime—is increasing subscriber numbers.

20             33.   Within Amazon’s corporate structure, the Prime organization or department

21   (“Prime Organization”) operates Prime. Amazon evaluates the Prime Organization’s

22   performance based on the number of subscribers.

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1                                 Typical Prime Enrollment Experiences

2            34.     Consumers can subscribe to Prime through multiple pathways including through

3    Amazon devices (like the Amazon Fire TV streaming device), while using Prime Video, or

4    through Prime’s unique webpage (“Prime Central”). However,                subscriptions occur through

5    the Amazon shopping checkout process.

6            35.     The basic consumer checkout enrollment experience proceeds as follows on both

7    desktop and mobile devices. Consumers who are not Prime members visit Amazon’s website—

8    www.Amazon.com—to shop. They place items in their cart, and then provide (or confirm) their

9    billing and address information. They then select a large orange “Continue” button, which

10   typically appears in the lower right corner of the page, and move through additional pages to

11   proceed with their purchase. Finally, consumers either complete their order by purchasing the

12   items in their cart or abandon their cart.

13           36.     Amazon presents all consumers who are not Prime subscribers with at least one

14   opportunity (also known as an “upsell”)—and often several opportunities—to join Prime before

15   those consumers place their order on the final checkout page. Amazon has two primary types of

16   upsells that enroll consumers: interstitials and non-interstitials. An interstitial is a page that

17   interrupts consumers’ online shopping experience by appearing before the page that consumers

18   seek to access in the first place. In contrast, non-interstitial upsells are elements imbedded

19   within checkout pages, including shipping-option selection and payment pages.

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1           37.     On desktop devices, Amazon has several Prime upsells: an interstitial upsell

2    called the Universal Prime Decision Page (“UPDP”), and three non-interstitial upsells called the

3    Shipping Option Select Page (“SOSP”), Single Page Checkout (“SPC”), and True Single Page

4    Checkout (“TrueSPC”). On mobile devices, Prime upsells mirror those on desktop, and include

5    the UPDP, SOSP, and SPC.

6           38.     UPDP on Desktop. Amazon calls the Prime interstitial upsell the Universal

7    Prime Decision Page. Although the UPDP has changed over time, it generally interrupts

8    consumers’ online shopping experience by presenting them with a prominent button to enroll in

9    Prime and a comparatively inconspicuous link to decline. Consumers cannot avoid the UPDP.

10   The upsell forces consumers to select either the button or the link to proceed to checkout. See

11   Attachments A–D.

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15          39.     The UPDP’s orange button, which enrolls a consumer in Prime if clicked, is

16   located toward the bottom right of the screen and often includes language referencing “free

17   shipping” or a “free trial.” For instance, in May 2018, the UPDP orange button read: “Get FREE

18   Two-Day Shipping.” See Attachment A. In February 2020, the button read “Get FREE Two-

19   Day Delivery.” See Attachment B. In some instances, the button reads “Start Your 30-Day

20   Prime FREE Trial” or a variant thereof, as it did in October 2018 and July 2020. See

21   Attachments C and D. Additionally, the button is stacked above a gray box that either states

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1    “Enjoy Prime FREE for 30 days,” see Attachment A and B, “No minimum order size,” “No

2    commitments. Cancel anytime,” see Attachments C and D, or similar language.

3           40.     If a consumer clicks the orange button, Amazon enrolls the consumer in a Prime

4    free trial, even if the consumer later abandons the cart and does not order the merchandise.

5           41.     The UPDP’s blue link, which declines the Prime membership if clicked, is located

6    towards the bottom left of the screen and includes language that the consumer will not receive

7    “free shipping.” For example, in 2018, the blue link read “No thanks, I do not want fast, free

8    shipping,” see Attachment A, and in February 2020 read “No thanks, I do not want fast, FREE

9    delivery,” see Attachment B. Sometimes the blue link refers to benefits more generally. For

10   example, in October 2018, the link stated “Continue without the Amazon Prime benefits.” See

11   Attachment C. More recently, the link states “No thanks.” See Attachment D.

12          42.     The contrast between an orange “double-stacked” button to enroll in Prime and a

13   blue link to decline prioritizes the enrollment option over the decline option and creates a visual

14   imbalance. See Attachments A–D.

15          43.     The UPDP does not adequately disclose the price of the monthly auto-renewal

16   feature of Prime. That information is located in small print at the bottom of the page, along with

17   a link to the Prime terms and conditions. See Attachments A–D.

18          44.     By October 2022, Amazon modified the circumstances under which prospective

19   members see the UPDP. Amazon distinguishes between (i) existing Amazon accountholders

20   who are not Prime subscribers, but have shopped on Amazon before and created a profile with

21   shipping and billing information, and (ii) consumers who have not shopped on Amazon before or

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1    are otherwise not associated with an existing customer profile. At present, the checkout flow

2    UPDP presents as follows to consumers with an existing Amazon account:

3                   (a)     The UPDP contains a banner across the top reading: “thank you for being

4    a loyal customer. We’re giving you Prime FREE for 30 days,” with a line immediately below

5    stating the date by which the customer will receive the items “with Prime.” See Attachment E.

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9                   (b)     On the right-hand side beneath the banner, Amazon places a chart

10   comparing the delivery cost without Prime ($5.99 in Attachment E) with the free delivery cost of

11   Prime. Below the chart, Amazon states how much money the consumer would save on their

12   “Prime eligible items” with “FREE Prime Delivery” on the order. Amazon also states that

13   “After your FREE trial, Prime auto-renews for just $14.99/month.” See Attachment E.

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21                  (c)     On the bottom right-hand side, Amazon places a double-stacked button.

22   The orange top button reads “Get FREE Prime Delivery with Prime,” and the bottom grey box

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1    reads “Enjoy Prime FREE for 30 days.” See Attachment E. If the consumer clicks on the orange

2    button, Amazon enrolls the consumer into Prime, even if the consumer does not complete the

3    order for the items in their cart.

4                    (d)     On the bottom left-hand side, Amazon has placed a blue link that reads

5    “No thanks.” A consumer clicking this link would avoid a Prime membership and proceed to the

6    following page of the checkout flow. See Attachment E.

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10                   (e)     To continue purchasing the item(s) in their cart, consumers must either

11   choose the larger orange “Get FREE Prime delivery” button or the smaller blue “No thanks”

12   link. See Attachment E.

13                   (f)     At the very bottom of the page, in small print, Amazon presents a link to

14   the Prime terms and conditions, and text stating: “Your Amazon Prime membership continues

15   until cancelled. If you do not wish to continue for $14.99/month plus any applicable taxes, you

16   may cancel anytime by visiting Your Account and adjusting your membership settings.” See

17   Attachment E.

18           45.     At present, the UPDP within the checkout flow presents as follows to consumers

19   who set up a brand-new Amazon account in making their first purchase:

20                   (a)     The UPDP reads “Try Prime FREE for 30 days and save $5.99 on this

21   order in both shipping and savings. Cancel anytime” at the top. Underneath, Amazon adds

22   “After your trial, Prime is only $14.99/month.” Amazon also includes a table listing additional

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1    Prime benefits, such as “Fast, FREE delivery on Prime eligible items,” “All the music + top

2    podcasts ad-free on Amazon Music,” and “Prime Video.” See Attachment F.

3                   (b)     Amazon then shows two buttons. The orange button on the right states

4    “Sign up for Prime” and the grey button on the left states “Not right now.” If a consumer clicks

5    on the “Sign up for Prime,” Amazon immediately enrolls the consumer. See Attachment F.

6                   (c)     At the bottom of the page, in small print, Amazon presents a link to the

7    Amazon Prime terms and conditions, as well as text that reads: “Your Amazon Prime

8    membership continues until cancelled. If you do not wish to continue for $14.99/month plus any

9    applicable taxes, you may cancel anytime by visiting Your Account and adjusting your

10   membership settings.” See Attachment F.

11                  (d)     The UPDP appears “on top” of the last page of the checkout flow, forcing

12   the consumer to select “Sign up for Prime” or “Not right now” to proceed to the last page of the

13   checkout flow. See Attachment F.

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21          46.     Separate from the UPDP, various Prime upsells appear as elements within the

22   online checkout flow, which itself appears in various versions to consumers depending on factors

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1    (i.e., whether a consumer has previously declined a Prime upsell). There are three desktop

2    checkout flow variations: a) the Shipping Option Select Page, b) the Single Page Checkout page,

3    and c) the True Single Page Checkout.

4           47.     SOSP on Desktop. The Shipping Option Select Page sought to enroll consumers

5    in Prime by providing them a series of shipping options, with estimated delivery dates, and pre-

6    selecting the fastest shipping option, which also enrolled consumers in Prime. The upsell

7    promised, for example, “FREE Same-Day Delivery” and a “30-day FREE trial of Prime,” but

8    failed to disclose Prime’s price or the fact that the subscription service would renew

9    automatically. The SOSP provided only a belated, inconspicuous disclosure of the terms of

10   Prime membership.

11          48.     In particular, the SOSP checkout flow on desktop began with a page where the

12   consumer could check out, followed by a page to select or input a shipping address, and then a

13   “Choose your shipping options” page, where consumers selected their shipping options for the

14   items they were purchasing. See Attachment G, at 3–4. This page displayed the different

15   shipping options, including speed and price. The SOSP shipping options page preselected the

16   first option—“FREE Same-Day Delivery with a free trial of Amazon Prime”—which would

17   enroll the consumer in Prime. If the consumer did not want free shipping with Prime, the

18   consumer needed to select another option to avoid a Prime membership. Above the shipping

19   options, Amazon displayed an orange banner stating “Good news [name], we’re giving you a 30-

20   day FREE trial of Prime.” The page did not show the price of a Prime subscription, nor did it

21   disclose the monthly auto-renewal. See Attachment G, at 4.

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10          49.     Once the consumer selected a shipping option, the consumer proceeded to the

11   “payment method” page to choose the payment method (e.g., credit card). The page made no

12   mention of Prime even though Amazon would automatically charge the chosen payment method

13   for Prime after the 30-day free trial expired. See Attachment G, at 5.

14          50.     After the consumer selected a payment method, the consumer proceeded to a

15   UPDP page that required consumers to choose between options to “Start your Prime FREE trial”

16   (which continues to enroll the consumer in Prime), and to decline (which avoids a Prime

17   membership). See Attachment G, at 6. The options were visually imbalanced, with the sign-up

18   option being larger and a brighter color. The page top stated, in large font, “we’re giving you a

19   30-day FREE trial of Prime.” Beneath that text, in smaller font, read “After your FREE trial,

20   Prime is just $12.99/month.” At the very bottom, in the middle of a block of text in small font,

21   was the statement “Your Amazon Prime membership continues until cancelled. If you do not

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1    wish to continue for $12.99/month plus any applicable taxes, you may cancel anytime by visiting

2    Your Account and adjusting your membership settings.”

3           51.     Either selection brought the consumer to the final “checkout” page. This page

4    displayed the total price of the item(s) in the consumer’s cart. The total did not include the price

5    of a Prime membership, even for consumers who reached the checkout page by selecting the free

6    shipping button that enrolled them in Prime. See Attachment G, at 7.

7           52.     If Amazon enrolled the consumer into Prime at any point in the SOSP checkout

8    flow, Amazon displayed “[Name], congratulations! Your 30-day free trial of Prime has started.

9    You can cancel anytime.” See Attachment G, at 7. The text did not disclose Prime’s price, nor

10   did it disclose the monthly auto-renewal.

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16          53.     Amazon discontinued the SOSP checkout version by October 2022, after Amazon

17   had received a Civil Investigative Demand (“CID”) from the Commission in March 2021, and a

18   second CID in June 2022.

19          54.     SPC on Desktop. The Single Page Checkout presented consumers with multiple

20   Prime upsells, including on the final “checkout” page. Like the SOSP, the SPC upsells did not

21   contemporaneously disclose Prime’s price or the fact that the subscription would auto-renew,

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1    and they contained misleading language. If selected, at least one SPC upsell enrolled the

2    consumer in Prime, even if the consumer did not complete the online checkout process.

3           55.     Similar to the SOSP version, the SPC checkout flow began with a page that asked

4    the consumer to confirm their billing address, then a page that displayed the different shipping

5    options from which consumers chose. See Attachment H, at 3–4.

6           56.     Like in the SOSP version, the SPC shipping options page emphasized the first

7    option—“FREE Same-Day Delivery with a free trial of Amazon Prime.” See Attachment H, at

8    4. The SPC also displayed an orange banner above the shipping options, which stated “Good

9    news [name], we’re giving you a 30-day FREE trial of Prime.” The page did not disclose

10   Prime’s price, nor did it disclose the monthly auto-renewal.

11          57.     Once a consumer selected a shipping option, the consumer proceeded to the final

12   checkout page. See Attachment H, at 5. If the consumer did not select the “shipping option” that

13   would enroll them in Prime, Amazon presented additional Prime upsells. For example, Amazon

14   sometimes presented a prominent blue box in the center of the page. On the left side of the box,

15   Amazon stated, in bold, “[Name], we’d hate for you to miss out on unlimited fast, FREE

16   delivery,” and “Save $7.52 on eligible items in this order and enjoy unlimited fast, FREE

17   delivery when you try Prime FREE for 30 days.” On the right side of the box, Amazon

18   displayed a gray button that read “Try Prime FREE for 30 days,” with “No hassle. No

19   commitment. Cancel anytime” underneath. Amazon enrolled consumers who clicked on this

20   gray button in Prime, even if those consumers did not complete their purchase.

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5            58.    Consumers enrolled in Prime through the SPC if they pressed a prominent button

6    labelled “Try Prime FREE for 30 days,” or selected the “Fast FREE Delivery” shipping option.

7    The SPC did not include information about Prime’s price or auto-renewal. See Attachment H,

8    at 5.

9            59.    Amazon displayed delivery options underneath the blue box. The first delivery

10   option is “FREE Same-Day Delivery with your free trial of Prime.” If a consumer selected this

11   option and then clicked on the “Place Your Order” yellow button on the top right side of the

12   screen, Amazon enrolled that consumer. See Attachment H, at 5.

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20           60.    Nowhere on this page did Amazon disclose Prime’s price or its monthly auto-

21   renewal feature. See Attachment H, at 5.

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1           61.     If a consumer selected an option to enroll in Prime, the next page (which the

2    consumer needed to get through to complete the product purchase) showed after-the-fact

3    disclaimers. First, in the middle of the page, blue text read: “A 30-day FREE trial of Amazon

4    Prime has been added to your order. Your order has been upgraded to fast, FREE shipping.”

5    Beneath this, in smaller black font, read: “After your free trial, Prime is just $12.99/month.

6    Cancel anytime.” Second, on the right, beneath the orange “Place your order” button in small

7    font was a block of text that linked to terms and conditions and included the lines: “Your

8    Amazon Prime membership continues until cancelled. If you do not wish to continue for

9    $12.99/month plus any applicable taxes after your first month, you may cancel anytime by

10   visiting Your Account.” See Attachment H, at 6.

11          62.     Amazon discontinued the SPC in late 2022, after it received a CID from the

12   Commission in March 2021, and a second CID in June 2022.

13          63.     TrueSPC on Desktop. In October 2022, Amazon replaced SPC with a modified

14   version of the checkout flow it calls True Single Page Checkout. See Attachments I–K.

15   TrueSPC consolidates the checkout flow’s multiple pages onto a single page that includes four

16   vertically stacked steps, with the first step (entry or confirmation of the shipping address) at the

17   top. Each step corresponds with a page that existed previously in the SPC version of the

18   checkout flow. As the consumer completes a step, that step minimizes and the next step expands

19   for the consumer to complete. Though Amazon regularly modifies the TrueSPC checkout flow,

20   it always includes at least one Prime upsell on the TrueSPC flow after the consumer has entered

21   their billing information.

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1            64.    TrueSPC contains many problematic elements present in the UPDP, SOSP, and

2    SPC—including misleading language and other manipulative designs—which lead consumers to

3    enroll in Prime without consent.

4            65.    The TrueSPC checkout experience varies depending on whether the consumer

5    already has an Amazon account with saved default billing and shipping information. Compare

6    Attachment I with Attachments J and K.

7            66.    Consumers who already have an Amazon account and have already provided

8    billing information must sign in and click a large orange button labelled “Continue” to reach the

9    next step. Amazon presents such consumers with a UPDP that interrupts the checkout flow. To

10   proceed to the next page in the TrueSPC checkout flow, consumers must either choose the large

11   orange “Get FREE Prime Delivery with Prime” button or the “No thanks” link. See Attachment

12   I, at 3. Regardless of the consumer’s choice, the consumer then reaches the TrueSPC checkout

13   page.

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1           67.     Consumers who have not yet set up an Amazon account see a different version of

2    the UPDP. See Attachment K, at 4.

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10          68.     The TrueSPC checkout page involves discrete steps numbered one through four

11   on the left and an “Order Summary” box on the right. See Attachment I, at 4. The consumer

12   must address all four elements on the left to place an order.

13          69.     The first element is the shipping address, and the second element is the payment

14   method. Consumers who already have an Amazon account can change their shipping address

15   and payment method; consumers who do not already have an account must input this

16   information. See Attachment I, at 4.

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            70.     Amazon does not expand the third element, “Offers,” to consumers who do not
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     already have an Amazon account, so those consumers skip this element. See Attachment I, at 4.
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            71.     The fourth element, “Review items and shipping,” summarizes the consumer’s
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     cart contents. See Attachment I, at 4. Assuming the consumer did not enroll in Prime via the
15
     UPDP page, this element also presents two Prime upsells. Amazon has placed the first upsell
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     within a large blue banner. On the right side of that blue banner, Amazon has a grey button that
17
     reads “Get FREE Prime Delivery with Prime,” with “No hassle. No Commitments.
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     Cancel Anytime” underneath. On the left side of the blue banner, Amazon states “Free Trial”
19
     and “we’re giving you Prime FREE for 30 days!” Amazon also includes “Get your Prime
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     eligible items for $5.99 FREE,” crossing out the price of shipping without Prime in red.
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6           72.     If a consumer clicks on the grey button “Get FREE Prime Delivery with Prime,”

7    Amazon replaces the blue banner with a white box and changes the text to: “A 30-day FREE trial

8    of Amazon Prime has been added to your order. Your order has been upgraded to fast, FREE

9    shipping.” See Attachment I, at 5. In smaller font, the text also reads “After your free trial,

10   Prime is just $14.99/month. Cancel anytime.” The consumer can continue their purchase without

11   Prime only if the consumer clicks on a small box that displays the “quantity” of Prime

12   subscriptions and selects “Delete” instead of “1.”

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20          73.     Amazon placed the second upsell in the delivery options stating “Free Trial” and

21   “we’re giving you Prime FREE for 30 days!” See Attachment I, at 4. The first delivery option

22   then reads: “FREE Prime Delivery with your free trial of Prime,” with “Fast, FREE Delivery”

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1    immediately underneath. If a consumer selects this delivery option and then clicks on “Place

2    your order and pay,” Amazon enrolls the consumer in Prime.

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11          74.     For those consumers who have not enrolled in Prime, the third element (“Offers”)

12   automatically opens after they input their shipping and payment information, and it presents a

13   version of the UPDP. See Attachment J, at 7. A list of “Prime Benefits” appears above an

14   orange button (“Sign up for Prime”) that adds a membership to the consumer’s order, and a

15   smaller white button (“Not right now”) that declines Prime. To continue, the consumer must

16   choose one of these options or close the element by clicking a small link in the upper right. See

17   Attachment J, at 7.

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14          75.     Amazon immediately enrolls consumers who select the orange “Sign up for

15   Prime.” See Attachment K, at 5.

16          76.     If the consumer moves past the third element without enrolling, Amazon presents

17   Prime again as part of the fourth element (“Items and shipping”). See Attachment J, at 8. This

18   element enables the consumer to adjust the quantity of items in the cart. Amazon also presents

19   Prime three additional times within this fourth element: a button (“Get FREE One-Day Delivery

20   with Prime”), a shipping option selection choice (“FREE One-Day Delivery with your free trial

21   of Amazon Prime”), and a hyperlink (“join now”). Consumers who have still not added a Prime

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1    membership to their order at this point can click a large orange “Place your order” box to

2    complete their checkout. See Attachment J, at 8.

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15          77.     Since at least 2018, Prime upsells on the mobile checkout flow have mirrored

16   those on desktop checkout, and have included the SOSP, UPDP, and the SPC.

17          78.     Navigating Prime upsells on mobile devices is more difficult than on a desktop.

18   Amazon often places material terms such as price and auto-renewal terms at the very bottom of

19   the mobile page—past the point viewable on the screen unless the consumer scrolls down—

20   where consumers are least likely to see this information. On mobile devices, consumers are also

21   more likely to select a prominent option without scrutinizing fine print.

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1           79.     Mobile (Past). The mobile Shipping Option Select Page contained similar

2    problematic elements to the desktop SOSP, including the pre-selection of a fast-shipping option

3    that would enroll consumers in Prime and a belated, inconspicuous disclosure of the terms of

4    Prime membership.

5           80.     The mobile SOSP (like the desktop SOSP) began with the “shipping option”

6    selection page. The first, pre-selected option was “FREE Same-Day Delivery with Amazon

7    Prime.” Three other shipping options, which were not preselected and would not enroll the

8    consumer in Prime, are further below. See Attachment L, at 4.

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18          81.     After clicking “Continue,” the consumer proceeded to “payment method” pages

19   to select the payment method. See Attachment L, at 5-6. As on desktop, the “payment method”

20   page did not mention Prime, even though Amazon will charge this payment method for Prime.

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1           82.     After selecting payment information, the consumer proceeded to a UPDP page

2    that stated at the top: “[Name], we’re giving you 30 days of Prime for $12.99 FREE.” See

3    Attachment L, at 7. The mobile page then listed several “shopping benefits” (e.g., “Prime

4    Delivery” and “Exclusive Deals”) and “entertainment benefits” (e.g., “Prime Video” and “Prime

5    Music”). Below these Prime benefits was a yellow button, “Start your Prime FREE trial,” with

6    black text beneath it, “Don’t worry, cancel anytime.” The yellow button enrolled the consumer

7    in Prime. Below that was a white button: “No Thanks,” which declined Prime. To this point on

8    the screen (and prior screens), Amazon had not disclosed that Prime will auto-renew once the

9    free trial expired, or that it costs $12.99 per month.

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19          83.     Finally, beneath “No Thanks,” located within terms and conditions were Prime’s

20   auto-renewal terms and monthly cost. To view this text, many consumers would need to scroll

21   down on their mobile device. See Attachment L, at 7.

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1           84.     If the consumer selected “Start your Prime FREE trial,” Amazon enrolled the

2    consumer in Prime and took the consumer to the final “checkout” page. Text toward the top of

3    the page read: “Congratulations, your Prime free trial has started!” The page did not state

4    Prime’s price or that the subscription would auto-renew. At this point, even if the consumer

5    abandoned the cart without completing checkout, Amazon still enrolled them in Prime. There

6    was no option on the “checkout” page for the consumer to cancel or undo their Prime

7    subscription. See Attachment L, at 8.

8           85.     The Universal Prime Decision Page on mobile devices contained similar

9    problematic elements as the UPDP on desktop.

10          86.     The UPDP on mobile (like the desktop version) required consumers to either

11   accept or decline a Prime subscription before allowing them to continue shopping. See

12   Attachment M. The mobile UPDP failed to make clear that the consumer would enroll in Prime

13   by selecting “Get FREE two-day shipping.” The mobile UPDP disclosed some terms, but only

14   at the bottom of the screen in a block of small print text, which stated “If you do not wish to

15   continue for $12.99/month plus any applicable taxes, you may cancel anytime by visiting Your

16   Account and adjusting your membership settings.”

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11          87.     The Single Page Checkout on mobile also contained similar problematic elements

12   as SPC on desktop.

13          88.     Mobile SPC, like mobile SOSP, began with a “shipping options” page that

14   included an option for “FREE Two-Day Delivery with Amazon Prime,” and several other non-

15   Prime shipping options. See Attachment N, at 3-4. The consumer then enters payment

16   information. See Attachment N, at 5-6.

17          89.     If the consumer selected one of the non-Prime shipping options (and after

18   selecting a payment method), the consumer proceeded to the checkout page and encountered two

19   Prime upsells. First, consumers could enroll in Prime if they selected “Try Prime FREE . . .

20   we’re giving you a 30-day FREE trial of Amazon Prime. No commitments, cancel anytime.”

21   See Attachment N, at 7. Second, under “Shipment details,” consumers could select (among

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1    other, non-Prime options) “FREE Same-Day Delivery with your free trial of Prime. Fast FREE

2    Delivery.” The page does not disclose Prime’s price or its auto-renewal feature.

3            90.    If the consumer selected the option for a Prime free trial, the consumer proceeded

4    to an updated version of the checkout page that read: “[Name], your Prime FREE 30-day trial

5    has been added below,” and in smaller font below stated Prime’s price and auto-renewal feature.

6    See Attachment N, at 8. Further below, Amazon added Prime to the consumer’s cart for

7    purchase, listing the price of the free trial as $0.00 and the “quantity” as “1.” To remove Prime

8    from the purchase, the consumer needed to select the dropdown menu and change the product

9    quantity from “1” to “0.”

10           91.    Mobile (Current). In 2022, Amazon modified the mobile checkout enrollment

11   flow.

12           92.    The current mobile upsells contain many of the same problematic elements as the

13   prior mobile upsells—including misleading language and manipulative designs—which lead

14   consumers to enroll in Prime without their consent.

15           93.    Consumers using mobile devices to navigate to Amazon.com can select a product

16   by clicking a large yellow button (“Add to Cart”), and continue shopping, or a large orange

17   button (“Buy Now”) to proceed directly to the checkout. See Attachment O, at 1. Consumers

18   who continue shopping add additional products to their cart by clicking the large yellow “Add to

19   Cart” button, until they finish and choose another large yellow button (“Proceed to checkout”),

20   which takes the consumer to the next step. See Attachment O, at 2.

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1           94.     At this point, the consumer signs in (if the consumer has not already) and clicks a

2    large yellow “Continue” button to proceed to a mobile UPDP. Consumers who have already

3    signed in proceed directly to the mobile UPDP.

4           95.     Consumers without an account must create one before reaching the mobile UPDP.

5    Creating an account involves four steps: entering an email address, creating a password, and

6    adding an address and a payment method. See Attachment O, at 3-4. Completing these steps

7    takes the consumer to the mobile UPDP.

8           96.     When a consumer reaches the mobile UPDP, Amazon divides the page, with a

9    footer (sometimes known as a “sticky footer”) that occupies the screen’s bottom half, rendering

10   only a portion of the top half visible unless the consumer scrolls down. See Attachment O, at 5.

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1           97.     At the top of the mobile UPDP, Amazon informs the consumer that “we’re giving

2    you 30 days of Prime for FREE.” See Attachment O, at 5. Smaller text below reads: “After

3    your FREE trial, Prime is just $14.99/month,” but does not reference Prime’s auto-renewal

4    feature. Consumers can view this section without scrolling.

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9           98.     The sticky footer on the lower half of the screen contains double-stacked buttons:

10   the top yellow “Get FREE Two-Day Delivery with Prime” button and an image appearing to be a

11   gray lower button labelled “Save $5.99 instantly on this order.” See Attachment O, at 5.

12   Amazon enrolls consumers who click the yellow button in Prime. As such, a consumer can

13   enroll in Prime without viewing the portion of the page that the sticky footer hides.

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1           99.     If a consumer scrolls down, Amazon shows consumers a table comparing the

2    “Perks of Prime” with “Without Prime.” See Attachment O, at 5. For instance, perks of Prime

3    include “Fast, FREE delivery on Prime eligible items,” “[a]ll the music + top podcasts ad-free on

4    Amazon Music,” and “Prime Video – Enjoy award-winning Amazon Originals, movies and TV

5    shows” whereas without Prime, a consumer has “[m]inimum order requirements,” “[m]usic

6    listening with ads,” and Prime Video “[n]ot included.”

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1           100.    The following text is visible at the bottom of the sticky footer, in the smallest type

2    on the screen: “By signing up, you acknowledge that you have read and agree to the Amazon

3    Prime Terms and . . . See all.” See Attachment O, at 5. If the consumer continues scrolling,

4    additional information about Prime’s “Terms and Conditions” and “Shipping Benefits” becomes

5    visible in small text beneath the “No thanks” link. A sentence in the middle of this additional

6    text reads: “Your Amazon Prime membership continues until cancelled. If you do not wish to

7    continue for $14.99/month plus any applicable taxes, you may cancel anytime by visiting Your

8    Account and adjusting your membership settings.”

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1           101.    If a consumer clicks the downward arrow on the top right of the sticky footer,

2    Amazon also reveals the additional text beneath the “No thanks” link. The arrow is adjacent to

3    the yellow “Get Free Two-Day Delivery with Prime” button that will enroll the consumer in

4    Prime. If a consumer clicks the button while attempting to click the adjacent sticky footer arrow,

5    Amazon enrolls the consumer in Prime.

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11          102.    Consumers cannot view the full text beneath the “No thanks” link without

12   scrolling or clicking the sticky footer arrow. However, consumers can enroll in Prime by

13   selecting the large yellow “Get FREE Two-Day Delivery with Prime” button without scrolling.

14   See Attachment O, at 5.

15          103.    Consumers can proceed with their purchase if they select either the yellow button

16   or the blue “No thanks” link. See Attachment O, at 5.

17          104.    If the consumer selects the yellow “Get FREE Two-Day Delivery with Prime”

18   button, Amazon brings the consumer to a final page with a yellow “Place your order” button and

19   “Congratulations, your Prime free trial has started! We’ll email you about all Prime benefits”

20   underneath. Therefore, Amazon enrolls the consumer in Prime before the consumer has even

21   placed the order. The final page of the flow also contains an “Order Total” that does not include

22   Prime’s price. See Attachment O, at 6.

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1           105.    On this final page, the consumer can change or confirm shipping and billing

2    information, remove products from the cart, and make other changes such as adding gift receipts

3    or providing delivery instructions. See Attachment O, at 6. The consumer can also select a

4    shipping method.

5           106.    The yellow button labelled “Place your Order” allows consumers to make their

6    purchase. See Attachment O, at 6. Prime’s price and auto-renewal feature do not appear on the

7    page, the consumer cannot remove Prime, and the consumer cannot back up and choose “No

8    thanks” to Prime on the prior page.

9           107.    In each pathway (UPDP, SOSP, SPC, TrueSPC, and mobile), Amazon fails to

10   provide clear and conspicuous disclosures regarding the Prime subscription program’s material

11   terms: its price, and the fact that it renews automatically unless the consumer affirmatively

12   cancels. Furthermore, in each pathway (UPDP, SOSP, SPC, TrueSPC, and mobile), Amazon

13   does not provide any disclosures at all before Amazon collects billing information from

14   consumers.

15          108.    Prime Video. Prime Video is a distinct product from Prime. Specifically, Prime

16   Video is a subscription-based video streaming service. Although it is possible to sign up for

17   Prime Video alone, it is difficult to do so.

18          109.    Amazon’s webpage tricked consumers into signing up for Prime instead of Prime

19   Video, which would be a lower-cost option.

20          110.    In particular, Amazon initially offers Prime Video as part of the full, more

21   expensive Prime package to consumers who reach the Prime Video homepage (or “storefront”)

22   to enroll in Prime Video. See Attachment P, at 1.

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11          111.    Capitalizing on some consumers’ inability to appreciate the difference between

12   “Prime” and “Prime Video,” the Prime Video enrollment process fails to clarify Amazon will

13   enroll them in Prime rather than the less expensive Prime Video, on both desktop and mobile

14   platforms. This causes some consumers to enroll in Prime, rather than Prime Video,

15   unknowingly.

16          112.    Consumers can reach the Prime Video storefront through various ways, including

17   by searching “Prime Video” in an online search engine or the Amazon search bar.

18          113.    The initial Prime Video storefront displays the Prime Video logo at the top and an

19   orange button labelled “Watch with Prime. Start your 30-day free trial.” See Attachments P and

20   V.

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1           114.    Amazon brings consumers who press the orange button to a second page and

2    prompts them to sign in (if they have an Amazon account) to confirm billing information, or to

3    create an account and submit billing information. This page also contains small print links to the

4    Amazon Prime Conditions of Use and Privacy Notice at the bottom of the page. See Attachment

5    V, at 2-5.

6           115.    Amazon does not, to this point, present the consumer with any marketing

7    regarding Prime, as opposed to Prime Video.

8           116.    After sign in or account creation, Amazon brings consumers to a page containing,

9    from top to bottom:

10                  (a)       the Prime logo with “Watch now, cancel anytime. Start your 30-day free

11                  trial”;

12                  (b)       the email associated with the account;

13                  (c)       a table with “Confirm your details” at the top followed by the plan type,

14                  which is “Prime. Enjoy unlimited streaming of thousands of movies and TV

15                  shows plus FREE Two-Day Delivery on millions of items. $14.99/month after

16                  trial” (to get Prime Video rather than Prime, the consumer must click a gray

17                  “change” box to the right);

18                  (d)       the consumer’s email, payment method, and billing address;

19                  (e)       at the bottom, “By signing up, you acknowledge that you have read and

20                  agree to the Amazon Prime Terms and Conditions and authorize us to charge your

21                  preferred card or another available credit card on file after your 30-day free trial.

22                  Your Prime membership continues until cancelled. If you don’t want to continue

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1                   for $14.99/month plus any applicable taxes, you may cancel anytime by visiting

2                   Your Account and adjusting your membership settings;” and

3                   (f)     an orange button in the bottom right corner, labelled “Start your free trial.”

4                   The button sits immediately above a gray area with text reading “Change or

5                   cancel plan anytime. Pay later.” See Attachment P, at 2 and Attachment V, at 6.

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17          117.    To enroll in Prime Video (instead of Prime), the consumer must click on the

18   “Change” button for the Plan information toward the top of the page, change the plan on the

19   subsequent page, and then navigate back to confirm the Prime Video selection. See Attachment

20   P, at 2 and Attachment V, at 6.

21          118.    Until recently, when the customer clicked the “Start your free trial” button,

22   Amazon enrolled the customer in Prime—not Prime Video—but then immediately took the

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1    customer to the Prime Video storefront page, where the customer can select the “Watch now”

2    button to begin a movie. See Attachment P, at 3. Above the “Watch Now” button, Amazon

3    included “Prime” and “Included with Prime.”

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10          119.    After receiving the June 30, 2022 CID, Amazon changed the Prime Video

11   enrollment flow for Prime. Now, when consumers click “Start your free trial” Amazon shows at

12   least some consumers a page titled “Welcome to Prime, [name]” that describes certain Prime

13   membership services. On this page, there is no option to cancel the Prime membership. Toward

14   the bottom are two buttons: on the left “Discover Prime benefits” (gray button) takes consumers

15   to an overview of Prime-related services, and on the right “OK” (blue button) continues to the

16   Prime Video storefront. See Attachment V, at 7-8.

17          120.    Prime Video (Mobile). Consumers may also enroll in Prime through Prime

18   Video on a mobile device.

19          121.    Like Prime Video on desktop, Prime Video on mobile tricked consumers into

20   signing up for Prime instead of Prime Video, which would be a lower-cost option.

21          122.    Like desktop Prime Video, the Prime Video mobile storefront displays the Prime

22   Video logo at the top and, toward the bottom of the page, an orange button labelled “Watch with

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1    Prime. Start your 30-day free trial.” Above the orange button, in blue text, reads “Prime” and

2    then, in white text, “Watch for $0.00 with Prime.” See Attachment U, at 1.

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14          123.    Amazon brings consumers who press the orange button to a “Welcome” page to

15   sign in (if they have an Amazon account) to confirm billing information, or to create an account

16   and submit billing information. The page also contains links to “Amazon’s Conditions of Use

17   and Privacy Notice.” See Attachment U, at 2.

18          124.    After sign in or account creation, Amazon then brings consumers to a page that

19   asks consumers to “Confirm your details,” and includes the following information from top to

20   bottom:

21                  (a)     Next to “Plan” reads: “Prime. Enjoy unlimited streaming of thousands of

22                  movies and TV shows plus FREE Two-Day Delivery on millions of items.

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1                   ($14.99/month after trial).” Next to this text is an arrow similar to a greater-than

2                   sign (“>”).

3                   (b)     The page also lists consumer’s email, payment method, and billing address

4                   information.

5                   (c)     There is then a link to Amazon Prime terms and conditions, as well as

6                   Prime’s price and auto-renewal feature.

7                   (d)     Toward the bottom is an orange button “Start your free trial” with black

8                   text beneath: “Change or cancel plan anytime. Pay later.” See Attachment U, at 5.

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1           125.    To enroll in Prime Video (instead of Prime), the consumer must click on the

2    “Plan” information toward the top of the page, change the plan on the subsequent page, and then

3    navigate back to confirm the Prime Video selection.

4           126.    If the consumer simply clicks the orange “Start your free trial” button, Amazon

5    enrolls the consumer in Prime—not Prime Video—but then immediately takes the consumer to

6    the Prime Video storefront page. See Attachment U, at 6.

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1              Prime’s Four-Page, Six-Click, Fifteen-Option Iliad Cancellation Process

2           127.     Under substantial pressure from the Commission, Amazon changed its Iliad

3    cancellation process in or about April 2023, shortly before the filing of the Complaint. Prior to

4    that point, there were only two ways to cancel a Prime subscription through Amazon: a) through

5    the online labyrinthine cancellation flow known as the “Iliad Flow” on desktop and mobile

6    devices; or b) by contacting customer service.

7           128.     The Iliad Flow required consumers intending to cancel to navigate a four-page,

8    six-click, fifteen-option cancellation process. In contrast, customers could enroll in Prime with

9    one or two clicks.

10          129.     Although consumers may have enrolled in Prime through devices other than

11   computers and smartphones, such as through the Prime Video application on the Amazon

12   FireStick and Fire TV, they could not cancel via these same technologies. Instead, they had to

13   use the Iliad Flow or call customer service.

14          130.     Amazon launched the Iliad Flow in 2016, and did not substantially change it in

15   the United States until in or about April 2023.

16          131.     To cancel via the Iliad Flow, a consumer had to first locate it, which Amazon

17   made difficult. Consumers could access the Iliad Flow from Amazon.com by navigating to the

18   Prime Central page, which consumers could reach by selecting the “Account & Lists” dropdown

19   menu, reviewing the third column of dropdown links Amazon presented, and selecting the

20   eleventh option in the third column (“Prime Membership”). This took the consumer to the Prime

21   Central Page.

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1           132.    Once the consumer reached Prime Central, the consumer had to click on the

2    “Manage Membership” button to access the dropdown menu. That revealed three options. The

3    first two were “Share your benefits” (to add household members to Prime) and “Remind me

4    before renewing” (Amazon then sent the consumer an email reminder before the next charge).

5    See Attachment Q, at 1-2.

6           133.    The last option was “End Membership.” The “End Membership” button did not

7    end membership. Rather, it took the consumer to the Iliad Flow. See Attachment Q, at 2-3. It

8    was impossible to reach the Iliad Flow from Amazon.com in fewer than two clicks.

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15          134.    Consumers could also reach the Iliad Flow by contacting customer service, asking

16   to cancel, and receiving a link to the Iliad Flow. Amazon required customer service

17   representatives to encourage consumers seeking to cancel to do so via the Iliad Flow.

18          135.    Consumers could also reach the Iliad Flow from Amazon.com by typing “cancel

19   membership” in the search bar. This produced an “Alexa” answer that included an “End Your

20   Amazon Prime Membership” link. See Attachment T, at 2.

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            136.    Clicking the link did not end Prime membership. Instead, it took the consumer to
7
     another page with a heading that read: “End Your Amazon Prime Membership.” The page
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     contained a button labelled “End Your Prime Membership.” Pressing the button did not end
9
     Prime Membership. Instead, it took the consumer to the Iliad Flow. See Attachment T, at 3-4.
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19          137.    The search bar pathway to the Iliad Flow varied somewhat depending on what

20   search the consumer ran. For instance, searching “how to turn off Prime,” or “cancel prime”

21   (rather than “how to cancel Prime”) took the consumer to a page with a link to Prime Central,

22   from which the consumer had to then locate the path to the Iliad Flow. Searching “End

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1    Membership” took the consumer to a page with three blue links under the heading “Closing your

2    Amazon account,” and a subheading “Get information on how to close your Amazon account.”

3    The middle link was “cancel membership.” Clicking “cancel membership” did not cancel

4    membership. Instead, it took the consumer to the Iliad Flow.

5           138.    Typing “cancel membership” in the search bar on a mobile device brought the

6    consumer to the Iliad Flow through similar steps. See Attachment S.

7           139.    Thus, to reach the Iliad Flow, consumers had to do one of the following: 1)

8    contact customer service and inform a customer service agent that they wanted to cancel and

9    click the cancellation link the customer service agent provides; 2) navigate from Amazon.com to

10   the Prime account management page (Prime Central), locate the “manage membership”

11   dropdown, and press a button labelled “End Membership”; or 3) search “How to cancel

12   membership” in the Amazon search bar, then move through subsequent steps to reach the Iliad

13   Flow—frequently, selecting a link reading “End Your Amazon Prime Membership” and then

14   pressing a button reading “End Your Prime Membership.”

15          140.    Once consumers reached the Iliad Flow, they had to proceed through its

16   entirety—spanning three pages, each of which presented consumers several options, beyond the

17   Prime Central page—to cancel Prime. See Attachment Q.

18          141.    On the first page of the Iliad Flow, Amazon forced consumers to “[t]ake a look

19   back at [their] journey with Prime” and presented them with a summary showing the Prime

20   services they used. Amazon also displayed marketing material on Prime services, such as Prime

21   Delivery, Prime Video, and Amazon Music Prime. Amazon placed a link for each service and

22   encouraged consumers to access them immediately, i.e., “Start shopping today’s deals!”, “You

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1    can start watching videos by clicking here!”, and “Start listening now!” See Attachment Q, at 3.

2    Clicking on any of these options took the consumer out of the Iliad Flow.

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9           142.    Also, on page one of the Iliad Flow, Amazon presented consumers with three

10   buttons at the bottom. “Remind Me Later,” the button on the left, sent the consumer a reminder

11   three days before their Prime membership renews (an option Amazon had already presented the

12   consumer once before, in the “Manage Membership” pull-down menu through which the

13   consumer entered the Iliad Flow). The “Remind Me Later” button took the consumer out of the

14   Iliad Flow without cancelling Prime. “Keep My Benefits,” on the right, also took the consumer

15   out of the Iliad Flow without cancelling Prime. Finally, “Continue to Cancel,” in the middle,

16   also did not cancel Prime but instead proceeded to the second page of the Iliad Flow. See

17   Attachment Q, at 3. Therefore, consumers could not cancel their Prime subscription on the first

18   page of the Iliad Flow.

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1           143.    On the second page of the Iliad Flow, Amazon presented consumers with

2    alternative or discounted pricing, such as the option to switch from monthly to annual payments

3    (and vice-versa), student discounts, and discounts for individuals with EBT cards or who receive

4    government assistance. Amazon emphasized the option to switch from monthly to annual

5    payments by stating the amount a consumer would save at the top of this page in bold. Clicking

6    the orange button (“Switch to annual payments”) or the links beneath took the consumer out of

7    the Iliad Flow without cancelling. See Attachment Q, at 4.

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13          144.    Right above these alternatives, Amazon stated “Items tied to your Prime

14   membership will be affected if you cancel your membership,” positioned next to a warning icon.

15   See Attachment Q, at 4.

16          145.    Amazon also warned consumers that “[b]y cancelling, you will no longer be

17   eligible for your unclaimed Prime exclusive offers,” and hyperlinked to the Prime exclusive

18   offers. See Attachment Q, at 4. Clicking this link took the consumer out of the Iliad Flow

19   without cancelling.

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1           146.    Finally, at the bottom of Iliad Flow page two, Amazon presented consumers with

2    buttons offering the same three options as the first page: “Remind Me Later,” “Continue to

3    Cancel,” and “Keep My Membership” (labelled “Keep My Benefits” on the first page). See

4    Attachment Q, at 4. Once again, consumers could not cancel their Prime subscription on the

5    second page of the Iliad Flow. Choosing either “Remind Me Later” or “Keep My Membership”

6    took the consumer out of the Iliad Flow without cancelling. Consumers had to click “Continue

7    to Cancel” to access the third page of the Iliad Flow.

8           147.    On the third page of the Iliad Flow, Amazon showed consumers five different

9    options, only one of which, “End Now”—presented last, at the bottom of the page—

10   immediately cancelled a consumer’s Prime membership. See Attachment Q. Pressing any of the

11   first four buttons took the consumer out of the Iliad Flow without immediately cancelling.

12          148.    On the third page of the Iliad Flow, the first and second options—“Remind Me

13   Later” and “Keep My Membership”—were substantially identical to the buttons on the Iliad

14   Flow’s first two pages. Therefore, Amazon forced consumers who reach the Iliad Flow’s last

15   page to view the “Remind Me Later” option four times (including once to enter the Iliad Flow)

16   and the “Keep My Membership” option three times. See Attachment Q, at 5.

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1           149.    The third option, “Pause on [date],” would “pause” or put on hold—but not

2    cancel—a consumer’s Prime membership. Amazon did not charge “paused” members for Prime

3    but made it simple for “paused” members to re-join Prime through a single “quick-resume” click.

4    Amazon presented the “pause” option adjacent to a warning icon and text stating that, “[b]y

5    pausing, [consumers] will no longer be eligible for [their] unclaimed Prime exclusive offers,”

6    and provided links to “Prime exclusive offers” (which if clicked exit the Iliad Flow without

7    canceling). See Attachment Q, at 5.

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14          150.    Amazon regularly sent promotional materials to “paused” members to encourage

15   them to un-pause Prime with a single click.

16          151.    Above the fourth and fifth options—the “End on [date]” and “End Now”

17   options—Amazon also added a warning icon and text that states “[b]y cancelling, [consumers]

18   will no longer be eligible for [their] unclaimed Prime exclusive offers.” See Attachment Q, at 5.

19          152.    The fourth option, “End on [date],” turned off Prime’s auto-renew feature. It did

20   not immediately cancel the consumer’s membership. Instead, the membership would end when

21   the current billing cycle concluded, and the consumer would not receive a refund. See

22   Attachment Q, at 5.

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1           153.    The fifth and final option, “End Now,” immediately cancelled a consumer’s

2    Prime membership (and Amazon refunded a pro-rated amount for the balance of the billing

3    cycle). Thus, only one of the five options presented immediately cancelled a consumer’s Prime

4    membership. See Attachment Q, at 5.

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13          154.    Therefore, to complete the Iliad Flow and cancel a Prime membership, the

14   consumer needed to click a minimum of six times from Amazon.com: Prime Central 

15   “Manage Membership”  “End Membership”  “Continue to Cancel”  “Continue to Cancel”

16    “End Now.” See Attachment Q.

17          155.    Amazon limited refunds available through the Iliad Flow to one monthly charge,

18   although Amazon did not disclose this to subscribers entering the flow. Consequently, a

19   Nonconsensual Enrollee who discovered Prime charges after a few months could not obtain a

20   full refund online. In contrast, a consumer who called customer support and was not redirected

21   to the Iliad Flow could obtain a greater refund because customer service representatives have

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1    discretion to provide one (for instance, if a consumer complains about Nonconsensual

2    Enrollment).

3              156.   The Iliad Flow was also accessible through a mobile device. Similar to the Iliad

4    Flow on desktop, the Iliad Flow on mobile was also difficult for consumers to locate and

5    presented a complex array of options across multiple pages. Cancelling via the Iliad Flow on a

6    mobile device was an eight-page, eight-click minimum process.

7              157.   On a mobile device, a consumer entered the Iliad Flow by 1) tapping on “My

8    Account,” 2) selecting “Manage Prime Membership” from a dropdown menu on the second

9    page, 3) selecting “Manage membership” on the third page, 4) selecting “Manage membership”

10   on the fourth page, and 5) selecting “End my Membership” on the fifth page. See Attachment R,

11   at 1-5.

12             158.   On the sixth page, the consumer seeking to cancel began the mobile equivalent of

13   the Iliad Flow. Specifically, on this page, Amazon presented benefits information similar to the

14   desktop Iliad Flow, and stated at the top of the page “[Name], thank you for being a member

15   with us. Take a look back at your journey with Prime.” See Attachment R, at 6. Amazon

16   included the same three options—“Keep My Benefits,” “Continue to Cancel,” and “Remind Me

17   Later”—although consumers had to scroll down to view them. None of these options ended the

18   Prime membership. Consumers who selected “Continue to Cancel” proceeded to a seventh page.

19   See Attachment R, at 6.

20             159.   On the seventh page, Amazon presented alternate payment options similar to

21   those in the desktop Iliad Flow: Amazon placed the three options at the bottom of the page in

22

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1    the same order. See Attachment R, at 7. Pressing “Continue to Cancel” did not end the

2    membership. It took the consumer to an eighth and final page. See Attachment R, at 7.

3            160.   On the eighth and final page, Amazon presented five buttons. The first three were

4    “Pause on [date],” “Keep My Membership,” and “Remind Me Later.” The consumer had to

5    scroll down to view the fourth and fifth. The fourth (“End on [date]”) turned off auto-renew, but

6    did not immediately cancel, and consumers who chose this option did not receive a refund. Only

7    the fifth and final button (“End Now”) immediately cancelled the membership. Amazon

8    refunded consumers who pressed this button a pro-rated amount for the balance of the monthly

9    billing cycle. See Attachment R, at 8.

10           161.   Amazon designed the Iliad Flow (both desktop and mobile) to inform consumers

11   about a) Prime benefits they would lose by cancelling Prime, and b) alternative payment methods

12   available to them to keep Prime.

13           162.   Amazon did not design the Iliad Flow to be simple or easy for consumers. The

14   Iliad Flow inhibits or prevents many consumers who intend to cancel from cancelling their

15   membership.

16           163.   Amazon measured the Iliad Flow’s success based on the number of Prime

17   cancellations it prevented. In 2020,     of subscribers who clicked on “End Membership” to

18   enter the Iliad Flow did not cancel.                       of those Prime subscribers who

19   entered the Iliad Flow but failed to cancel subsequently used no Prime services within the next

20   thirty days.

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1                                                   for the Prime Enrollment Flow

2           164.    Although consumers can enroll in Prime through many entry points, a majority of

3    prospective Prime members begin subscriptions by enrolling in free trials that Amazon offers

4    during its ecommerce shopping checkout process. Because these trial memberships are the

5    principal way that Amazon solicits Prime subscribers, the Prime Organization focuses

6    extensively on how Amazon presents these trials to consumers.

7           165.    Amazon’s Prime Organization regularly tests new designs for the UPDP, SOSP,

8    SPC, TrueSPC, mobile, and other elements of the checkout enrollment flow that prospective

9    subscribers see.

10          166.

11          167.

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15          168.

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19          169.

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1           170.

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4           171.

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14          173.

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17          174.     In fact, lower-level Amazon designers, marketers, and researchers urged company

18   leadership to                                                                                 One

19   Amazon employee wrote to Defendant Vice-President Jamil Ghani on July 30, 2020 about

20

21            An unknown $12.99 charge could mean grocery money for a family, gas to fill
              up a car, or just the last bit of money to make rent. . . . Do we think that they
22

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1              should also [have] to call customer service to ask for a refund, when they
               discover this unknown charge [for Prime]?
2              ....

3

4

5

6

7

8           175.     When an Amazon program manager similarly pointed out in an email chain sent

9    to a large number of recipients that

10                                                                                Amazon Vice

11   President Cem Sibay scolded him: “[I]t’s not appropriate to have this conversation over email,

12   and increasingly a mass one at that (just adding P&C [privileged and confidential] does little).”

13   Sibay and Defendants Ghani, Lindsay, and Grandinetti failed to implement any meaningful

14   change.

15          176.                                                                               which

16   has led to dark patterns and consequently Nonconsensual Enrollment.

17                         Amazon’s Knowledge of Nonconsensual Enrollment

18          177.     Amazon knows that Nonconsensual Enrollment is widespread. In fact, Amazon

19   periodically surveys consumers who cancel Prime to determine their reason. For example, from

20   November 2018 to February 2019,          of U.S. consumers Amazon surveyed gave “I did not

21   mean to sign up for Amazon Prime” as their “[r]eason for cancellation.”

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1           178.    In September 2020, Amazon also performed an internal study that quantified the

2    number of subscribers “unaware” that they had subscribed to Prime based on five considerations:

3

4

5

6

7                          Based on these factors, Amazon estimated that                      Prime

8    subscribers were “unaware” that they had subscribed to Prime.

9           179.    Nonconsensual Enrollment is both so widespread and well-understood at Amazon

10   that the company’s internal documents are littered with references to “accidental” signups. One

11   company newsletter circulated among Prime Organization designers and researchers explained:

12            The issue of accidental Prime-sign ups is well documented . . . . Customers
              unknowingly become
13            because 1) they signed up accidentally and/or didn’t see auto-renewal terms, 2)
              we didn’t send them reminders or charge communications, and 3) they didn’t
14            check their card activity.

15          180.    In fact, as Amazon knows, consumers do not always carefully study their credit

16   card activity or notice an Amazon charge for Prime (especially when they are expecting other

17   Amazon charges for routine purchases). Consequently, as one internal memorandum explained,

18   “[i]f customers unknowingly sign up, or are unaware of auto-renew, they can go through

19   multiple billing cycles without using benefits.”

20          181.    When dissatisfied consumers call Amazon’s customer service to cancel their

21   Prime membership, customer service representatives record the reason the consumer gives.

22   Amazon studied consumers who asked to cancel their Prime membership and reported to

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1    customer service that they had signed up unintentionally to determine the time between when the

2    enrollment occurred and the consumer’s call. Amazon then reported the results in a

3    memorandum labelled “privileged and confidential”:

4                   (a)

5                          meaning Amazon has charged them once without consent.

6                   (b)

7                   meaning that Amazon has charged them three times without consent.

8                   (c)

9                   meaning that Amazon has charged them six times without consent.

10                  (d)

11                          meaning that Amazon has charged them twelve times without consent.

12          182.    Amazon knows who nearly all Nonconsensual Enrollees are, yet refunds only

13   those Nonconsensual Enrollees who eventually notice the charges and complain.

14          183.    Prime Organization designers and researchers referred to the design changes

15   necessary to stop Nonconsensual Enrollment as “clarity” improvements. The problem—as

16   Amazon leadership understood—was that clarity improvements reduced subscriptions and,

17   therefore, profit. One 2020 internal memorandum concerning “Prime Renewals: Product

18   Strategy for 2021” explained the tension this way: projects that improve clarity “‘right size’ the

19   member balance to intentional and genuine members, thereby being a bad guy to total Prime

20   member balance. This puts these projects at odds with other member balance accretive

21   Acquisition and Retention projects: as a result, these projects have inevitably been BTL [below

22   the line] in stack ranked prioritizations.”

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1           184.    Instead of correcting the causes of Nonconsensual Enrollment, Amazon

2    leadership focuses energy and investment into iterating

3

4    For example, in part to address Nonconsensual Enrollment after the fact—and without reducing

5    subscription balance—Amazon encourages Nonconsensual Enrollees to begin using the benefits

6    for which Amazon is already charging them without their consent. In a meeting with Amazon

7    designers, Defendant Lindsay was asked about Amazon’s use of dark patterns during the Prime

8    enrollment process. Lindsay explained that once consumers become Prime members—even

9    unknowingly—they will see what a great program it is and remain members, so Amazon is

10   “okay” with the situation. Accordingly, Amazon declined to remove problematic design

11   elements from its checkout enrollment flow.

12          185.    Amazon has known since at least 2016 that its Prime checkout enrollment flow

13   contains design elements that trick people into signing up. In particular, designers within the

14   Prime Organization and researchers within a separate Shopping Design Organization

15   (responsible for studying consumer complaints) knew these design elements caused

16   Nonconsensual Enrollment and urged Amazon leadership to change them. For example, in late

17   2020, designers and researchers prepared a draft memorandum explaining, in detail, Amazon’s

18   use of design techniques “designed to mislead or trick users to make them do something they

19   don’t want to do, like signing up for a recurring bill, favoring shareholder value over user value.”

20          186.    Notably, in a different 2021 draft memorandum entitled “Clarity in Prime

21   Subscription Communications” that designers and researchers prepared for Amazon executive

22   Dave Clark, the authors recounted how the Shopping Design Organization had studied “mistaken

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1    signups since 2016” and identified the problem “to Prime leadership.” Defendant Ghani directed

2    subordinates to revise this language because it “reads accusatory.”

3           187.    Importantly, Prime Organization and Shopping Design Organization researchers,

4    designers, and marketers prevailed upon Amazon leadership to experiment with clarity

5    improvements four times: in 2018, 2019, 2020, and 2021. Throughout the process, Amazon

6    leadership did not object to clarity improvements so long as Prime subscriptions did not fall.

7    Each time Amazon clarified the Prime enrollment process, however, subscriptions did fall. And

8    each time, Amazon leadership ordered the changes undone.

9                    Amazon’s 2018 Decision to Defer Enrollment Process Changes

10          188.    Beginning in 2014, the predecessor to the Shopping Design Organization began

11   an effort to identify, study, and resolve “customer frustrations,” or consumer experience issues

12   across the entire suite of Amazon subscription services, including Prime, Kindle Unlimited,

13   Audible, and others. This effort became known within Amazon as the Customer Frustrations

14   Elimination Program (“CFEP”).

15          189.    As part of the CFEP, researchers compiled a list of user experience issues

16   identified by analyzing information consumers provided (including reasons for cancelling

17   Prime), individual customer frustration “tickets,” and observational “shop-along” research during

18   which researchers would observe customers shopping on Amazon.

19          190.    CFEP researchers created a database of consumer “frustrations” to which

20   participants across Amazon could contribute, and through which participants across Amazon

21   could search. Through the database, CFEP researchers centralized Amazon’s consumer research

22

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1    to facilitate collaboration between the CFEP team and the organizations within Amazon (e.g., the

2    Prime Organization) responsible for—and able to eliminate—a given “frustration.”

3           191.     Amazon measures CFEP’s performance based

4                           In contrast, Amazon measures the Prime Organization’s performance

5    based on

6           192.     In April 2018, at the direction of Amazon’s leadership, including Defendant

7    Lindsay, CFEP researchers reviewed the database

8

9           193.     CFEP researchers evaluated

10

11

12                 Through this process, CFEP researchers

13

14

15          194.     The Shopping Design Organization’s work overlapped with Project Lucent, a

16   Prime Organization initiative aimed at increasing clarity and reducing Nonconsensual

17   Enrollment by “simplifying cluttered templates,” phasing out “design paradigms which could be

18   confusing to the customer,” and “making the sign-up flow more intuitive,” among other goals.

19   In 2018, Defendant Lindsay received an internal memorandum regarding Project Lucent, which

20   confirmed “Prime identified the need to increase clarity during the Prime sign-up and on-

21   boarding process.”

22

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1              195.   Project Lucent researchers found the UPDP contained numerous problematic

2    elements. For example, according to the same 2018 document: (1) the button to enroll in Prime

3    “does not make it clear that consumers are signing up for Prime”; (2) the option to decline Prime

4    enrollment “is not clear/prominent so customers miss it” and click on the enrollment option

5    inadvertently; (3) Prime branding is not prominent on the UPDP “so customers did not realize

6    this was a Prime upsell”; and (4) the price of Prime and the fact that the subscription service

7    would auto-renew “was not prominent so customers did not realize the associated cost.”

8              196.   To address these problems, the Project Lucent team tested several “clarity”

9    improvements intended to clarify the UPDP on a small segment of consumers in the United

10   States.

11             197.   Specifically, Amazon changed the enrollment button from “Get FREE two-day

12   shipping” to “Start your 30-day FREE trial.” Amazon also modified the link declining Prime

13   from “Continue without fast, free shipping” to “No Thanks.” Additionally, Amazon clarified the

14   price of a Prime subscription as well as its auto-renew feature outside of the fine print terms and

15   conditions.

16             198.   Testing revealed, however, that making these clarity improvements would

17                                              In particular, the change to “Start your 30-day FREE

18   trial” resulted in                                            the change to “No Thanks”

19                    and the price and auto-renew clarification

20             199.   On September 24, 2018, Prime and Shopping Design executives met to discuss

21   Project Lucent and the CFEP findings related to Nonconsensual Enrollment. The Shopping

22   Design Organization had no authority to implement changes within the Prime Organization’s

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1    area of responsibility, which includes the checkout enrollment flow. The primary question at this

2    meeting was “how many Prime signups [is] Amazon . . . willing to lose in order to prevent

3    unintended Prime Signup[.]” At the meeting, Prime Organization representatives opposed

4    changes that would reduce subscription numbers because Amazon evaluates Prime’s

5    performance substantially based on subscription numbers. Shopping Design Organization

6    researchers and leadership favored changes designed to reduce Nonconsensual Enrollment

7    because Amazon evaluates Shopping Design based partly on how many customer “frustrations”

8    it eliminates.

9            200.     Executives acknowledged at the meeting that the enrollment flow lacked

10   transparency.

11

12

13

14

15

16           201.     Because the Project Lucent clarity improvements negatively affected subscription

17   numbers, the Prime Division pulled the plug on Project Lucent.

18                    Amazon’s 2019 Decision to Defer Enrollment Process Changes

19           202.     After the Prime Organization failed to address the problems in the Prime

20   enrollment flow that CFEP identified, the Shopping Design Organization escalated the issue to

21   Defendant Grandinetti, who had authority over both Organizations. Within Amazon,

22   “escalations” occur to “break ties” when two organizations within Amazon disagree.

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1           203.    Consistent with Amazon’s general practice, the Prime and Shopping Design

2    Organizations attempted to jointly prepare a memorandum for Grandinetti describing the testing

3    Amazon had conducted as part of Project Lucent, the work CFEP researchers performed, the

4    business implications, and the prior decision to halt changes.

5           204.    On June 17, 2019, high-level representatives of both Organizations met with

6    Defendant Grandinetti. Every member in attendance, including Defendants Lindsay and

7    Grandinetti, read the memorandum at the beginning of the meeting.

8           205.    The document identified the issue: “Prime signups are not always transparent”

9    and “customers sign up without knowing they did.” The document highlighted specific design

10   attributes contributing to Nonconsensual Enrollment. Among other things, the memorandum

11   explained that the checkout enrollment flow confused some consumers about whether they were

12   enrolling and made it difficult for them to understand Prime’s price and auto-renew feature.

13          206.    The memorandum further stated these issues were                  that Amazon

14   should address, but also stated that changes to resolve those issues would cause short-term

15   enrollment to decrease.

16          207.    The attendees of the June 17, 2019 meeting discussed their options, including

17

18                         on the option to decline Prime (e.g., “No Thanks, I do not want fast, FREE

19   shipping”). Defendant Lindsay even suggested something he called “scary”—that Amazon

20   should consider making it as easy to decline Prime as to enroll. The meeting participants also

21   discussed specific associated changes, such as changing the decline link to a button to make

22   consumers less likely to overlook it.

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1           208.    Eventually, Defendant Grandinetti vetoed any changes that would reduce

2    enrollment. He directed the Prime Organization to improve the checkout enrollment flow as

3    much as it could—but only “while not hurting signups.” Consequently, Amazon continued to

4    use the designs that caused Nonconsensual Enrollment.

5                    Amazon’s 2020 Decision to Defer Enrollment Process Changes

6           209.    In 2020, product marketers and researchers on the Prime Content Experimentation

7    and Optimization team (“CE&O”) within the Prime Organization reignited “clarity” efforts to

8    improve trust (i.e., to reduce Nonconsensual Enrollment). One marketer gave a presentation on

9    clarity to Prime Organization supervisors Nahshon Davidai and Omar Kalim. The presentation

10   stated that clarity improvements would “[f]oster customer trust with straightforward messaging”

11   because the lack of clarity within the Prime checkout enrollment flow is a “root cause of

12   customer friction.” The presentation suggested that the Prime Organization had not implemented

13   proposed changes because “business goals” (paid subscriber numbers) and “customer clarity”

14   require “a delicate balance.”

15          210.    After reviewing the presentation, Davidai agreed that Amazon should replace

16   their checkout Prime upsells “with something that meets [their] clarity bar.” Accordingly, the

17   Prime Division then sought the requisite approval from Defendants Ghani and Lindsay to make

18   design changes to the checkout enrollment flow likely to reduce enrollment.

19          211.    The Prime Organization prepared a document entitled “Prime Framework for

20   Clarity” that summarized the problem and options to address it. In particular, the memorandum

21   explained that, as a result of manipulative design, Amazon had “accumulated a significant clarity

22   debt that [it] need[ed] to start paying down.” Furthermore, its “approach to clarity [had] been

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1    short sighted” because “experiments [had] been focused on impact to paid members and

2    signups” using the existing problematic checkout enrollment flow as a baseline, which made

3    changes difficult because changes that reduced problematic elements lowered enrollment. The

4    memorandum proposed “considering the impact on member trust and brand equity” instead.

5           212.    The document framed the issue this way: “[w]e seek leadership feedback on i)

6    are we willing to take an initial membership hit to reset our clarity baseline, and if so, ii) how

7    fast we should move to fix these defects.”

8           213.    After Defendant Ghani approved a draft on June 3, 2020, the Prime Organization

9    organized a “Prime Clarity and Member Trust Review” with Defendant Lindsay on July 24,

10   2020. At least initially, Lindsay agreed to support the CE&O team’s push for clarity.

11          214.    Following the meeting, in September 2020, the Prime Organization fixed several

12   key problems with the UPDP in the United States including: (a) changing the “decline” option

13   from a link to a “No thanks” button; (b) making Prime’s price visible outside the terms and

14   conditions; and (c) re-labelling the enrollment button with wording that included “Prime” or

15   “Free Trial” (collectively, the “September 2020 Changes”).

16          215.    As predicted, the September 2020 Changes reduced Prime’s subscription

17   numbers.

18          216.    By November 2020, however, it became clear that the September 2020 Changes

19   would cause Prime to miss its financial goals. On December 3, 2020, Defendants Lindsay and

20   Ghani met with various Prime Organization leaders and another executive, Doug Herrington, to

21   review Prime’s performance.

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1    The memorandum further explained that, as a consequence, the Prime Organization would roll

2    back the September 2020 Changes and return to the version of the enrollment checkout flow

3

4           217.    Defendants Ghani and Lindsay decided to make this rollback permanent. In this

5    regard, the Prime Organization continued to implement Defendant Grandinetti’s original

6    instruction not to make changes that would reduce subscriptions.

7           218.    Separately, a Shopping Design senior researcher formed a “Clarity Working

8    Group” to improve the enrollment and cancellation process across all of Amazon’s subscription

9    programs, including Prime, Audible, Kindle Unlimited, and Amazon Music Unlimited. It

10   produced a memorandum and design mockups comparing the then-current versions of

11   problematic enrollment and cancellation processes across Amazon with revised versions

12   intended to “increase clarity during subscription sign-up, renewal, and cancellation.” For

13   instance, with respect to Prime, the Clarity Working Group recommended that the enrollment

14   button needs to clearly state that a customer is signing up for a 30-day free trial or a paid

15   subscription rather than only stating the customer will receive “FREE” shipping. The Clarity

16   Working Group further highlighted the fact that customers had trouble finding the ingress to the

17   Iliad Flow and prematurely abandoned the Iliad Flow under the incorrect assumption they had

18   completed cancellation of their Prime subscription. The Clarity Working Group also proposed

19   metrics to evaluate performance

20   The Clarity Working Group presented its memorandum and design mockups to Defendant Ghani

21   and a Shopping Design executive, Llew Mason, on December 16, 2020.

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1

2           219.    The Clarity Working Group’s December 16, 2020, memorandum urged Amazon

3    not to “let financial impact impede efforts to build a trustworthy [customer experience].” It

4    further noted the decision to roll back the September 2020 Changes would “improve growth

5    metrics” but at the expense of engaging in a                          The Clarity Working Group

6    asked Mason and Defendant Ghani to “urgently revisit this rollback strategy with the right

7    decision-makers.”

8      Amazon’s 2021 Decision to Make Certain Changes in Response to Regulatory Pressure

9           220.    On January 6, 2021, Ghani emailed Lindsay. Ghani explained that he had met

10   with the Shopping Design Clarity Working Group, which put “forth some standards that Prime

11   knows would be significant headwinds to sign ups and are counter to where I think we landed

12   with you and Doug [Herrington].” Ghani further acknowledged the “real tension between the

13   ongoing push to improve [the customer experience] . . . and the concrete decisions to be made in

14   Prime upsells and their headwind to growth,” describing that process as a “balancing act.” Ghani

15   also explained to Lindsay “[t]he reality is that the changes we made in September to Prime

16   templates where (sic) deemed to be near the ‘minimum bar’ of what we wanted to improve (e.g.,

17   call out the price outside of the [terms and conditions], make negative [button or link] as

18   prominent as positive (sic), remove shadow boxes around buttons). But as you know, the

19   changes nevertheless had a significant negative impact.”

20          221.    Defendant Lindsay elected to prepare yet another memorandum for yet another

21   executive, Senior Vice President Dave Clark, to again facilitate a decision among Lindsay,

22   Ghani, and others regarding whether to make any changes.

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1           222.    Specifically, Defendant Lindsay explained to Defendant Ghani: “I may land in

2    the same place, but given how hot this topic is in the press lately, and the risk of regulatory

3    action in some countries, I [am] [sic] wondering how you might thread the needle . . . between

4    making it easy to join, easy not to mistakenly join and not unduly difficult to unsubscribe[.]”

5           223.    Additionally, Defendant Lindsay asked for “benchmarking,” or analyses of the

6    enrollment and cancellation processes Amazon’s competitors use. Defendants Lindsay and

7    Ghani sought to determine whether, regardless of Amazon’s own behavior or legal obligations,

8    its competitors appeared to use more pernicious enrollment and cancellation design techniques.

9    The Prime Organization then compiled the requested “benchmarking” information comparing the

10   Prime checkout enrollment flow and the Iliad Flow to competitors’ enrollment and cancellation

11   experiences.

12          224.    The Prime Organization further prepared a draft memorandum that Defendants

13   Ghani and Lindsay approved. That memorandum posed several questions, including “[h]ow

14   much friction should we add to the signup process knowing that these initiatives come[] at a cost

15   in terms of signups and member balance?” The memorandum answered: “Based on results from

16   our experiments, we believe tightening clarity at a single transaction at signup is not the right

17   approach and that such highly impactful changes to the [customer experience] should not be

18   introduced abruptly given the shock to business performance[.]”

19          225.    The Prime Organization’s memorandum asked: “How easy should we make it to

20   cancel Prime?” It also framed the issue as whether Amazon should simplify the Iliad Flow for

21   some consumers, “while taking others through a longer path, communicating the benefits of a

22   membership and persuading them to stay Prime. . . . If not, should we lean in towards a strategy

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1    that simplifies cancelation across the board, including enabling a one click cancellation for all

2    customers . . . ?” However, Defendants Lindsay and Ghani made no changes.

3           226.    In assisting with the memorandum, one Clarity Working Group member noted the

4    existence of “consumer watchdogs [who] say the manipulative ‘dark pattern’ design makes it

5    hard for people to end membership.”

6           227.    On March 16, 2021, the FTC issued a CID to Amazon seeking information

7    necessary to evaluate whether the Prime enrollment process and the Iliad Flow violated the

8    Restore Online Shoppers’ Confidence Act (“ROSCA”), 15 U.S.C. §§ 8401-05. At that point,

9    Amazon’s in-house counsel (and, later, its outside counsel) assumed greater control over

10   business decisions involving the Prime enrollment process and the Iliad Flow.

11          228.    Clark met with Defendants Lindsay and Ghani on May 6, 2021, less than two

12   months after the CID. Amazon decided to make changes to the enrollment and Iliad flows either

13   during or as a result of this meeting.

14          229.    Amazon made these changes as a result of pressure from both the FTC and

15   European Union regulators.

16          230.    In the second quarter of 2021, Amazon initiated a project to shorten the Iliad Flow

17   in the European Union. As discussed above, see Paragraphs 127 and 130, Amazon made

18   changes to the Iliad Flow in the United States in or about April 2023.

19                 Manipulative Designs in the Checkout Enrollment and Iliad Flows

20          231.    The manipulative designs (sometimes called dark patterns) Amazon uses, or has

21   used, in its Prime enrollment flows and the Iliad Flow include the following elements:

22

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1                   (a)     Forced Action. “Forced Action” is a design element that requires users to

2    perform a certain action to complete a process or to access certain functionality.

3                           (i)     Amazon uses Forced Action in the UPDP version of its Prime

4    enrollment flow, during which Amazon forces the consumer to choose whether to enroll in Prime

5    before allowing the consumer to complete her purchase. In fact, at least as of 2018, Amazon

6    knew that some consumers clicked on yellow buttons expecting only to continue the checkout

7    process rather than to enroll in Prime.

8                           (ii)    Amazon also uses Forced Action in its Iliad Flow by forcing the

9    consumer to proceed through multiple screens to cancel their subscription. The presence of

10   Forced Action complicates the Iliad Flow.

11                  (b)     Interface Interference. “Interface Interference” is a design element that

12   manipulates the user interface in ways that privilege certain specific information relative to other

13   information.

14                          (i)     Amazon uses Interface Interference in its Prime checkout

15   enrollment flow, most versions of which reveal the terms and conditions of Prime only once

16   during the purchase process, and then only in a small, easy-to-miss font. Amazon also uses

17   repetition and color to direct consumers’ attention to the words “free shipping” and away from

18   Prime’s price, which leads some consumers to enroll without providing informed consent.

19                          (ii)    Amazon also uses Interface Interference in the Iliad Flow by

20   emphasizing options that divert the consumer from the flow without cancelling and by

21   employing warning icons near the option to cancel, which evokes anxiety and fear of loss in

22   consumers. The presence of Interface Interference complicates the Iliad Flow.

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1                   (c)     Obstruction (“Roach Motel”). “Obstruction,” also known as the “roach

2    motel” technique, is a design element that involves intentionally complicating a process through

3    unnecessary steps to dissuade consumers from an action.

4                           (i)    Amazon uses Obstruction throughout its Prime checkout

5    enrollment flows by making the option to decline enrollment difficult to locate.

6    In fact, since at least 2018, Amazon has known that some consumers cannot find the less

7    prominent “No Thank You” link to decline enrollment.

8                           (ii)   Amazon also uses Obstruction in its Iliad Flow by: (1) making the

9    ingress to the Iliad Flow difficult for consumers to locate; and (2) forcing consumers who have

10   already expressed an intent to cancel by locating and entering the Iliad Flow to view marketing

11   and reconsider options other than cancellation. The presence of Obstruction complicates the

12   Iliad Flow.

13                  (d)     Misdirection. “Misdirection” is a design element that focuses a

14   consumer’s attention on one thing to distract from another.

15                          (i)    Amazon uses Misdirection in its Prime checkout enrollment flow

16   by presenting asymmetric choices that make it easier to enroll in Prime than not. Additionally,

17   certain versions of Amazon’s checkout enrollment flow offer consumers only a less prominent

18   blue link to decline Prime.

19                          (ii)   Internal materials from Amazon identify the use of a link rather

20   than a button as a type of “misdirection.” In fact, Amazon has known for years that presenting

21   consumers with visually unequal options is problematic. As one email from a senior researcher

22   recounts, “[d]ating back to 2017, we have made multiple requests (at the Neil [Lindsay] and

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1    Jamil [Ghani] level) that the [Prime] team move to a more customer-friendly and accessible CX

2    [customer experience], whereby we would use two equally prominent buttons for the Sign Up vs.

3    No Thanks.”

4                                            Amazon also uses Misdirection in certain versions of the

5    Prime checkout enrollment flow by failing to label the button that enrolls consumers in Prime

6    with text indicating what pressing the button will do. For example, Amazon has known for years

7    that some consumers do not understand that buttons labelled “Get FREE two-day shipping”

8    actually enroll the consumer in the Prime subscription program.

9                           (iii)   Amazon also uses Misdirection in its Iliad Flow by presenting

10   consumers with asymmetric choices that make it easier to abandon an attempted Prime

11   cancellation than to complete it. In particular, Amazon uses attractors such as animation, a

12   contrasting color blue, and text to draw consumers’ attention to “Remind me later” and “Keep

13   my benefits” options rather than “Continue to Cancel.” Amazon further misdirects consumers

14   who have entered the Iliad Flow by presenting visually appealing options to perform acts other

15   than cancel, such as exploring the benefits of the subscription service (thereby exiting the Iliad

16   Flow). The presence of Misdirection complicates the Iliad Flow.

17                  (e)     Sneaking. “Sneaking” is a design element that consists of hiding or

18   disguising relevant information, or delaying its disclosure. Amazon uses Sneaking by failing to

19   clearly and conspicuously disclose Prime’s terms and conditions during its enrollment checkout

20   flow, including its price and auto-renew attribute. Amazon also employs Sneaking by failing to

21   show Prime’s price or its auto-renewal feature in the consumer’s cart.

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1                   (f)     Confirmshaming. “Confirmshaming” is a design element that uses

2    emotive wording around the disfavored option to guilt users into selecting the favored option.

3    Until at least 2020, the Prime checkout enrollment flow used confirmshaming by requiring

4    consumers who sought to decline Prime to click a link stating “No thanks, I do not want fast, free

5    delivery”:

6

7

8

9    Amazon used such confirmshaming despite internal analyses questioning the propriety of this

10   wording. Amazon’s most recent TrueSPC enrollment pathway continues to use a form of

11   confirmshaming when it claims: “we’d hate for you to miss out on unlimited fast, FREE

12   delivery.”

13                  Amazon’s Other Subscription Programs Have Similar Features

14          232.    Amazon operates other subscription services including Audible (audiobooks and

15   podcasts), Kindle Unlimited (eBooks and digital media), Amazon Music Unlimited (streaming

16   music), and Subscribe & Save (regularly-scheduled delivery of consumer goods). These other

17   subscription services also use similar manipulative design elements that trick consumers into

18   signing up and thwart their cancellation attempts.

19          233.    Amazon’s internal usage numbers demonstrate the problem.

20

21

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1           234.    Design concepts that Amazon employs in Prime—its largest subscription

2    service—are readily transferrable to Amazon’s other subscription programs. Indeed, the

3    Amazon designers and researchers who unsuccessfully urged Amazon to change Prime

4    enrollment and cancellation processes also asked Amazon executives to make similar changes to

5    Amazon’s other subscription programs. As with Prime, however, Amazon leadership slowed or

6    prevented clarity-enhancing and legally-required design changes that would reduce subscription

7    numbers.

8                      Amazon’s Misuse of the “Privileged” Label on Documents

9           235.    Amazon and its executives, including Defendants Lindsay, Grandinetti, and

10   Ghani, misused “privileged” designations on documents addressing issues related to

11   Nonconsensual Enrollment and the Iliad Flow:

12                  (a)     Amazon and its executives, including Defendants Lindsay, Grandinetti,

13                  and Ghani, labelled or forwarded material as “privileged” when the material

14                  addressed issues related to Nonconsensual Enrollment or the Iliad Flow but did

15                  not contain or seek legal advice. Amazon and its leadership further directed

16                  subordinates to follow this improper practice. For example, one employee wrote

17                  in a January 20, 2021 email that “clarity is a P&C [privileged and confidential]

18                  topic.” In another, a Prime VP stated, “it’s not appropriate to have this

19                  conversation [on a lack of clarity in an enrollment upsell] over email, and

20                  increasingly a mass one at that (just adding P&C does little).”

21                  (b)     Amazon and its executives, including Defendants Lindsay and Ghani,

22                  included phrases such as “for counsel” or “seeking counsel” or similar at the

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1                   beginning of email correspondence addressing issues related to Nonconsensual

2                   Enrollment or the Iliad Flow—typically copied to one lawyer along with many

3                   businesspeople—when the correspondence did not contain a request for legal

4                   advice. Amazon and its leadership further directed subordinates to follow this

5                   improper practice.

6                   (c)     Amazon and its executives, including Defendants Lindsay, Grandinetti,

7                   and Ghani, included attorneys in certain meetings about Nonconsensual

8                   Enrollment and the Iliad Flow for the purpose of attempting to render the

9                   meetings privileged. For instance, Amazon withheld all information regarding the

10                  May 6, 2021 meeting referenced in Paragraph 228. Amazon and its leadership

11                  further directed subordinates to follow this improper practice.

12          236.    Amazon and Defendants Lindsay, Grandinetti, and Ghani performed or directed

13   these improper practices because they understood that Nonconsensual Enrollment and the Iliad

14   Flow would inevitably result in government investigations.

15          237.    By identifying (and causing others to identify) communications concerning

16   Nonconsensual Enrollment and the Iliad Flow as privileged when they were not, Amazon and

17   Defendants Lindsay, Grandinetti, and Ghani obstructed the FTC’s investigation, delaying the

18   Commission’s ability to access the falsely-labelled material.

19          238.    When these acts occurred, Amazon and Defendants Lindsay, Grandinetti, and

20   Ghani knew that the Commission’s investigatory proceeding was foreseeable or underway.

21   Amazon and Defendants Lindsay, Grandinetti, and Ghani intended to interfere with the

22   Commission’s investigatory proceeding and, in fact, did so in the manner alleged herein.

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1                  Amazon’s Other Attempts to Delay the Commission’s Investigation

2           239.    On March 16, 2021, the Commission issued a CID to Amazon seeking

3    information regarding the enrollment and cancellation practices associated with Prime. The CID

4    directed Amazon to respond by April 15, 2021. Amazon assured the Commission that it would

5    cooperate, but did not.

6           240.    Amazon has over 1.5 million employees—i.e., potential document custodians—

7    and its internal communications are replete with acronyms and other jargon—i.e., potential

8    search terms—not readily identifiable to outsiders. Accordingly, as with any discovery process,

9    the Commission had to, and did, rely on Amazon to participate in good faith in the discovery

10   planning process, including by identifying appropriate custodians and search terms.

11          241.    During at least one phone call shortly following the issuance of the CID,

12   Amazon’s counsel assured the FTC’s counsel that, in substance, “I will get you what you need.”

13   Amazon’s counsel also told the FTC’s counsel that Amazon would work “to identify the most

14   efficient means of providing [the FTC] with the information [it] need[s] to complete [its]

15   investigation.” These assurances are consistent with any opposing counsel’s obligation to

16   engage in good faith discovery planning. As detailed below, however, Amazon did not follow

17   through on these assurances, instead, for example, proposing search terms and custodians that led

18   the Commission away from key documents.

19          242.    In the context of the customary need to rely on opposing counsel to act in good

20   faith, Amazon counsel’s significant experience working on FTC investigations, Amazon’s

21   promise to “get you what you need,” the massive amount of potential document custodians and

22   search terms (many of which were unknowable to the Commission), and other express

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1    assurances of cooperation throughout the Subject Period, the Commission agreed to rely on

2    Amazon to provide—in the first instance—a sufficient response to the CID, including reasonable

3    search terms and custodians, to enable the Commission to fairly evaluate Amazon’s Prime

4    enrollment and cancellation practices. However, the Commission always reserved its right to ask

5    for additional responsive information and additional search terms and custodians.

6           243.    Accordingly, during the Subject Period, in response to Amazon’s assurances of

7    cooperation and that Amazon would provide the Commission what it needed, the Commission

8    temporarily accepted the eight custodians (out of approximately 500 employees with potentially-

9    responsive information) and narrow search terms Amazon proposed. The Commission relied on

10   Amazon’s assurances that the custodians and search terms selected by Amazon would provide

11   the information the FTC needed.

12          244.    By March 14, 2022, one year later, Amazon had produced only a small amount of

13   material—fewer than 9,000 documents—using the custodians and search terms that it had

14   proposed.

15          245.    On March 14, 2022, Business Insider published information leaked from current

16   and former Amazon employees regarding the problems with Amazon’s Prime checkout

17   enrollment flow and the Iliad Flow. The Commission quickly ascertained that Amazon had

18   failed to disclose much of the now-leaked documents and information to the Commission,

19   despite the fact that at least some of it was responsive to the outstanding CID. Amazon withheld

20   the information by identifying combinations of search terms and custodians it knew would not

21   surface the most probative—and inculpatory—material. Among other things, Amazon failed to

22   identify as custodians key individuals who communicated extensively about the Prime

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1    enrollment and cancellation processes, including the most knowledgeable employees on these

2    subjects. Amazon also failed to identify as custodians individuals the Business Insider article

3    named as key decision-makers regarding the Nonconsensual Enrollment problem and the Iliad

4    Flow.

5            246.   In contrast, two of the eight custodians identified by Amazon performed little

6    work germane to the investigation. But for the Business Insider article, Amazon’s failure to

7    identify relevant custodians and search terms may have gone undiscovered.

8            247.   Pursuant to its reservation of rights, on April 19, 2022, the Commission issued an

9    extensive follow-up demand for additional information. Amazon did not comply with this

10   demand, instead making the incredible claim that doing so would take 30 months.

11           248.   On June 30, 2022, the Commission issued an additional CID to Amazon as well

12   as CIDs to various current and former employees seeking documents and testimony. Amazon

13   also did not comply with the June 30, 2022 CID.

14           249.   Instead, on August 5, 2022, Amazon and certain individual CID recipients

15   (including Defendants Lindsay, Ghani, and Grandinetti) petitioned the Commission to quash the

16   June 2022 CIDs. On September 21, 2022, the Commission denied the petition in every material

17   respect. Three Commissioners noted with respect to one legal question Amazon raised as a basis

18   to delay or avoid providing testimony: “The issue raised by this dispute is just one of many

19   challenges facing FTC staff when pursuing complex investigations of targets that may perceive

20   benefits to prolonging discovery.” Although the Commission ordered Amazon and the

21   individual petitioners to fully comply, they did not.

22

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1           250.    Amazon’s effort to delay the Commission’s investigation included its failure to

2    identify custodians—including employees who worked the most on clarity issues on enrollment

3    and cancellation—and search terms reasonably likely to surface the most probative information.

4    In addition to Amazon’s failure to identify custodians and search terms during the Subject Period

5    that would have produced the material to which the Business Insider article referred, Amazon did

6    not identify any Shopping Design Organization custodians at all.

7           251.    Amazon largely failed to timely produce the documents the CIDs require.

8    Although Prime is the world’s largest subscription program, Amazon produced fewer than

9    30,000 documents during the entire two-year investigation. Small businesses routinely produce

10   more material to Commission investigators. Moreover, Amazon did not produce most of those

11   documents before October 2022—eighteen months after the Commission’s initial CID.

12          252.    Amazon’s false cooperation assurances described in Paragraphs 239 through 251

13   constituted intentional misconduct meant to delay the Commission’s investigation and the

14   Complaint. Furthermore, these false cooperation assurances misled the Commission and

15   affirmatively concealed the causes of action asserted herein during the Subject Period.

16   Amazon’s wrongful conduct foreseeably caused, and did in fact cause, delay of the

17   Commission’s investigation of all Defendants, including Lindsay, Grandinetti, and Ghani.

18          253.    At all times, the Commission acted diligently. Among other things, during the

19   Subject Period, the Commission reviewed material Amazon produced and provided feedback to

20   Amazon Counsel through correspondence and teleconferences. The Commission also made

21   supplemental requests and, to expedite Amazon’s response, demanded that the company accept a

22   timeline for its production.

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1           254.    Amazon’s bad faith response to the Commission’s CID constitutes an

2    extraordinary circumstance beyond the Commission’s control. But for Amazon’s effort to

3    frustrate the Commission’s investigation, the Commission would have filed this action many

4    months earlier. Amazon’s false cooperation assurances described in Paragraphs 239 through 251

5    delayed the Commission’s investigation during the period from April 15, 2021 (the initial CID

6    return date) and March 14, 2022 (the publication of the Business Insider article).

7           255.    Amazon’s largely unsuccessful petition to quash delayed the Commission’s

8    investigation during the period of its pendency, from August 5, 2022 until September 21, 2022.

9           256.    Based on the facts and violations of law alleged in this Amended Complaint, the

10   FTC has reason to believe that Defendants are violating, and are about to violate, laws enforced

11   by the Commission because Defendants have engaged in ROSCA violations repeatedly and

12   knowingly for years. Those violations are ongoing. Even if Amazon halts or has halted some

13   problematic conduct, Amazon has consistently pressured its employees to maintain Prime

14   subscription numbers, meaning the incentive for enrollment and cancellation process violations

15   remains.

16          257.    Additionally, until shortly before the Commission filed the Complaint, Amazon

17   used the Iliad Flow to persuade consumers to keep their Prime subscriptions. Amazon only

18   revamped Iliad in response to pressure from the Commission, and without such pressure—

19   including this lawsuit—Amazon would likely restore Iliad. Furthermore, the revamped

20   cancellation process still contains problematic elements because the cancellation process remains

21   difficult to locate on both desktop and mobile. Amazon still requires five clicks on desktop and

22   six on mobile for consumers to cancel from Amazon.com. And both flows still require

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1    consumers to proceed through extraneous information unnecessary to the cancellation process

2    and presented solely to discourage cancellation. The continued presence of these problematic

3    elements illustrates that, although the form of the cancellation flow recently changed, Amazon’s

4    mindset has not.

5            258.   Indeed, Amazon considers changes to Prime enrollment and cancellation

6    mechanisms as “two-way door” decisions, meaning that those changes can be undone at any

7    time.

8            259.   Amazon is one of the world’s largest and most well-resourced companies. It has

9    extensive legal resources including in-house and outside counsel with expertise in the FTC Act,

10   ROSCA, and the company’s other consumer protection obligations. Amazon embedded in-

11   house counsel within the Prime Organization, and key decisionmakers Defendants Lindsay,

12   Ghani, and Grandinetti routinely conferred with such in-house counsel, including in-house

13   attorney Praju Tuladhar, regarding obligations under the FTC Act, ROSCA, and other consumer

14   protection laws and regulations.

15           260.   Accordingly, Amazon and Defendants Lindsay, Ghani, and Grandinetti, have

16   actual knowledge or knowledge fairly implied on the basis of objective circumstances that their

17   actions are unfair or deceptive and are prohibited by ROSCA.

18                                 VIOLATIONS OF THE FTC ACT

19           261.   Section 5(a) of the FTC Act, 15 U.S.C. § 45(a), prohibits “unfair or deceptive acts

20   or practices in or affecting commerce.”

21           262.   Acts or practices are unfair under Section 5 of the FTC Act if they cause or are

22   likely to cause substantial injury to consumers that consumers cannot reasonably avoid

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1    themselves and that is not outweighed by countervailing benefits to consumers or competition.

2    15 U.S.C. § 45(n).

3                                                COUNT I

4                            Unfairly Charging Consumers Without Consent
                                            (All Defendants)
5
            263.    In numerous instances, as described in Paragraphs 2 through 238 above,
6
     Defendants have charged consumers without their express informed consent.
7
            264.    Defendants’ actions cause or are likely to cause substantial injury to consumers
8
     that consumers cannot reasonably avoid themselves and that is not outweighed by countervailing
9
     benefits to consumers or competition.
10
            265.    Therefore, Defendants’ acts or practices as set forth in Paragraph 263 constitute
11
     unfair acts or practices in violation of Section 5 of the FTC Act, 15 U.S.C. § 45(a), (n).
12
          VIOLATIONS OF THE RESTORE ONLINE SHOPPERS CONFIDENCE ACT
13
            266.    In 2010, Congress passed the Restore Online Shoppers’ Confidence Act, 15
14
     U.S.C. §§ 8401-05, which became effective on December 29, 2010. Congress passed ROSCA
15
     because “[c]onsumer confidence is essential to the growth of online commerce. To continue its
16
     development as a marketplace, the Internet must provide consumers with clear, accurate
17
     information and give sellers an opportunity to fairly compete with one another for consumers’
18
     business.” Section 2 of ROSCA, 15 U.S.C. § 8401.
19
            267.    Section 4 of ROSCA, 15 U.S.C. § 8403, generally prohibits charging consumers
20
     for goods or services sold in transactions effected on the Internet through a negative option
21
     feature, as that term is defined in the FTC’s Telemarketing Sales Rule (“TSR”), 16 C.F.R.
22

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1    § 310(w), unless the seller: (a) clearly and conspicuously discloses all material terms of the

2    transaction before obtaining the consumer’s billing information; (b) obtains the consumer’s

3    express informed consent before making the charge; and (c) provides simple mechanisms to stop

4    recurring charges. See 15 U.S.C. § 8403.

5           268.    The TSR defines a negative option feature as: “in an offer or agreement to sell or

6    provide any goods or services, a provision under which the consumer’s silence or failure to take

7    an affirmative action to reject goods or services or to cancel the agreement is interpreted by the

8    seller as acceptance of the offer.” 16 C.F.R. § 310.2(w).

9           269.    As described in Paragraphs 2 through 238, Defendants have created and manage

10   several negative option features as defined by the TSR, 16 C.F.R. § 310.2(w), including Prime.

11          270.    Pursuant to Section 5 of ROSCA, 15 U.S.C. § 8404(a), and Section 18(d)(3) of

12   the FTC Act, 15 U.S.C. § 57a(d)(3), a violation of ROSCA constitutes a violation of a rule under

13   section 18 of the FTC Act, 15 U.S.C. § 57a, and constitutes an unfair or deceptive act or practice

14   in or affecting commerce, in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

15          271.    Section 5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A), as modified by

16   Section 4 of the Federal Civil Penalties Inflation Adjustment Act of 1990, 28 U.S.C. § 2461, as

17   amended, and as implemented by 16 C.F.R. § 1.98(d), authorizes this Court to award monetary

18   civil penalties of up to $50,120 for each violation of ROSCA, 16 C.F.R. § 1.98(d).

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23   AMENDED COMPLAINT                                                            Federal Trade Commission
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1                                                COUNT II

2                                Violation of ROSCA—Inadequate Disclosures
                                               (All Defendants)
3
            272.    In numerous instances, in connection with charging consumers for goods or
4
     services sold in transactions effected on the Internet through a negative option feature, as
5
     described in Paragraphs 2 through 238 above, Defendants failed to clearly and conspicuously
6
     disclose all material terms of the transaction, including the price of Prime, its auto-renewal
7
     provision, and cancellation requirements, before obtaining the consumer’s billing information.
8
            273.    Defendants’ practices as set forth in Paragraph 272 are violations of Section 4 of
9
     ROSCA, 15 U.S.C. § 8403(1), and are therefore violations of a rule promulgated under Section
10
     18 of the FTC Act, 15 U.S.C. § 57a, 15 U.S.C. § 8404(a), and therefore constitute an unfair or
11
     deceptive act or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
12
            274.    Defendants committed the violations set forth in Paragraph 272 with the
13
     knowledge required by Section 5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A).
14
                                                COUNT III
15
                            Violation of ROSCA—Nonconsensual Enrollment
16                                          (All Defendants)

17          275.    In numerous instances, in connection with charging consumers for goods or

18   services sold in transactions effected on the Internet through a negative option feature, as

19   described in Paragraphs 2 through 238 above, Defendants failed to obtain the consumer’s express

20   informed consent before charging the consumer’s credit card, debit card, bank account, or other

21   financial account for the transaction.

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23   AMENDED COMPLAINT                                                            Federal Trade Commission
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1           276.    Defendants’ practices as set forth in Paragraph 275 are violations of Section 4 of

2    ROSCA, 15 U.S.C. § 8403(2), and are therefore violations of a rule promulgated under Section

3    18 of the FTC Act, 15 U.S.C. § 57a, 15 U.S.C. § 8404(a), and therefore constitute an unfair or

4    deceptive act or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).

5           277.    Defendants committed the violations set forth in Paragraph 275 with the

6    knowledge required by Section 5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A).

7                                               COUNT IV

8             Violation of ROSCA—Failure To Provide Simple Cancellation Mechanism
                                       (All Defendants)
9
            278.    In numerous instances, in connection with charging consumers for goods or
10
     services sold in transactions effected on the Internet through a negative option feature, as
11
     described in Paragraphs 2 through 238 above, Defendants fail to provide simple mechanisms for
12
     a consumer to stop recurring charges for the good or service to the consumer’s credit card, debit
13
     card, bank account, or other financial account.
14
            279.    Defendants’ practices as set forth in Paragraph 278 are violations of Section 4 of
15
     ROSCA, 15 U.S.C. § 8403(3), and are therefore violations of a rule promulgated under Section
16
     18 of the FTC Act, 15 U.S.C. § 57a, 15 U.S.C. § 8404(a), and therefore constitute an unfair or
17
     deceptive act or practice in violation of Section 5(a) of the FTC Act, 15 U.S.C. § 45(a).
18
            280.    Defendants committed the violations set forth in Paragraph 278 with the
19
     knowledge required by Section 5(m)(1)(A) of the FTC Act, 15 U.S.C. § 45(m)(1)(A).
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23   AMENDED COMPLAINT                                                            Federal Trade Commission
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1                                        CONSUMER INJURY

2           Consumers are suffering, have suffered, and will continue to suffer substantial injury as a

3    result of Defendants’ violations of the FTC Act and ROSCA. Absent injunctive relief by this

4    Court, Defendants are likely to continue to injure consumers and harm the public interest.

5                                       PRAYER FOR RELIEF

6           Wherefore, Plaintiff requests that the Court:

7           A.      Enter a permanent injunction to prevent future violations of the FTC Act and

8    ROSCA by Defendants;

9           B.      Award Plaintiff monetary civil penalties from Defendants for every violation of

10   ROSCA;

11          C.      Award monetary and other relief within the Court’s power to grant; and

12          D.      Award any additional relief as the Court determines to be just and proper.

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23   AMENDED COMPLAINT                                                          Federal Trade Commission
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1                                        Respectfully submitted,

2    Dated: September 20, 2023           /s/ Evan Mendelson

3                                        EVAN MENDELSON (DC Bar #996765)
                                         OLIVIA JERJIAN (DC Bar #1034299)
4                                        THOMAS MAXWELL NARDINI
                                         (IL Bar #6330190)
5                                        Federal Trade Commission
                                         600 Pennsylvania Avenue NW
6                                        Washington, DC 20580
                                         (202) 326-3320; emendelson@ftc.gov (Mendelson)
7                                        (202) 326-2749; ojerjian@ftc.gov (Jerjian)
                                         (202) 326-2812; tnardini@ftc.gov (Nardini)
8
                                         COLIN D. A. MACDONALD (WSBA # 55243)
9                                        Federal Trade Commission
                                         915 Second Ave., Suite 2896
10                                       Seattle, WA 98174
                                         (206) 220-4474; cmacdonald@ftc.gov (MacDonald)
11
                                         Attorneys for Plaintiff
12                                       FEDERAL TRADE COMMISSION

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23   AMENDED COMPLAINT                                               Federal Trade Commission
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